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|N THE UN|TED STATES D|STR|CT COURT

FOR THE D|STR|CT OF DELAWARE

|GT,
P|aintiff,
v. Civ. No. 06-282-SLR

BALLY GA|V||NG |NTERNA`|'|ONAL
|NC., et a|.,

Defendants.

 

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MEMORANDUM OP|N|ON

Dated: Apri| 28, 2009
Wi|mington, De|aware

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i. iNTRODUCT|ON

lGT (“p|aintift”) filed this action against Baiiy Gaming international inc., Baiiy
Technoiogies, lnc. and Baiiy Gaming, lnc. d/b/a Baiiy Technoiogies (coiiectiveiy, “Bally”
or “defendants”) on April 28, 2006, alleging infringement of U.S. Patent Nos. RE 38,812
(“the ‘812 patent”), RE 37,885 (“the ‘885 patent”), 6,832,958 (“the ‘2958 patent”),
6,319,125 (“the ‘125 patent”), 6,224,958 (“the ‘4958 patent”), 6,431,983 (“the ‘983
patent”), 6,607,441 (“the ‘441 patent”), 6,565,434 (“the ‘434 patent”), and 6,620,046
(“the ‘046 patent”). (D.l. 1)1 Plaintiff alleges that defendants’ “Baiiy Power Bonusing®”
slot machine technology infringes one or more claims of the asserted patents

On June 30, 2006, defendants filed their answer, and asserted counterclaims for
a declaratory judgment of noninfringement, invalidity and unenforceability of each
asserted patent (counts l - lX); attempted monopolization in violation of Section 2 of the
Sherman Antitrust Act, 15 U.S.C. § 2 (count X); false representation in violation of the
Lanham Act, 15 U.S.C. § 1125 (count X|); and “intentiona| interference With business
re|ationships” (count X||). (D.l. 40) P|aintiff moved to dismiss defendants’ counterclaim
counts X - Xii. (D.l. 53) Piaintiff also moved for a preliminary injunction. (D.l. 75) The
case Was assigned to this judicial officer on Apri| 2, 2007. Following a discovery
conference, on June 21, 2007, piaintiff’s pending motions Were Withdrawn. Discovery
proceeded and has now since ciosed. (D.l. 1601 175)

On February 25l 2008, by agreement of the parties, all claims, defenses, and

 

1Piaintiff originally filed the complaint in the name of “internationai Game
Technoiogy” (D.l. 1); plaintiff amended its complaint on May 8, 2005 and recaptioned
itself “iGT.” (D.l. 6)

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counterclaims related to the ‘125, ‘434, ‘4958, ‘046, and ‘2958 patents were dismissed.
(D.l. 152) The parties entered into an agreement on May 14, 2008 removing the ‘441
patent from issue. (D.l. 165) Remaining at issue is infringement of the ‘812, ‘885, and
‘983 patents, defendants’ counterclaims of invalidity and unenforceability of these
patents, and defendants’ counts X-Xii. This case is set for a jury trial commencing May
26, 2009.

Currentiy pending before the court are seven motions for summary judgment
Plaintiff has filed motions: (1) of infringement (D.l. 178); (2) of validity of the ‘885 and
‘812 patents (D.l. 180); and (3) that Baiiy does not have either an express or implied
license to practice the ‘885, ‘812, or ‘983 patents (“no licensing defense”) (D.l. 182).
Defendants have filed motions: (1) of noninfringement (D.l. 191); (2) of invalidity of the
‘983 patent (D.l. 193); (3) of invalidity of the ‘885 and ‘812 patents (D.l. 219); and (4)
that Baiiy has a valid license defense with respect to the ‘983 patent (D.l. 221).2 The
court has jurisdiction over these matters pursuant to 28 U.S.C. § 1338.

ii. BACKGROUND

A. Technoiogy at issue

This suit relates to casino slot machine technology and player rewards. Casino
slot machines may be networked together. Networking allows for advantages such as

the casino’s ability to monitor patrons' slot play and to extract accounting data from

 

2l:’laintiff objects to the latter two motions as having been filed outside of the
schedule and the parties’ agreed-upon extensions The court’s consideration of these
cross motions, the subject matter of which is already before the court, does not
prejudice plaintiff. in addition, defendants have not filed a reply brief in support of either
motion.

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individual machines (JA01631-32) Monitoring systems require the use of player-
tracking cards (hereinafter “PTC”s) and machines equipped with card-tracking devices
Casinos typically issue PTCs to patrons who sign up for an account through the
casino’s promotions department and use PTCs to track play, allow players to obtain
rewards or participate in promotions when their PTC is in use, and to enable players to
access funds that they previously have deposited with the casino for use at a gaming
device or table. The casino maintains a database of its patrons on a host computer
PTCs can be inserted into a tracking device that includes a magnetic card readerl
display for messages and a keypad to accept any inputs from the patron; such devices
are typically found on slot machines

Both parties in this case provide software products used by casinos to provide
awards to players who are gambling on a networked gaming device such as a slot
machine. Such “bonusing” increases player loyalty and entertainment and can be
provided in many ways, such as by special awards or free play credits. A “progressive”
jackpot is a common jackpot that increases a small amount for every game played on
the machines included within a certain network whereon the progressive is offered.

Defendants manufacture a product suite called Baiiy Power Bonusing, which
includes the following accused products: Power Winners, Power Rewards, Power
Promotlons, and Power Bank. These systems will be discussed in greater detail infra in
connection with the court’s infringement analyses Each comprises hardware and
software to run on a slot network, the software having main components a slot
management system (or “Si\/lS”) and a casino management system (or “Ci\/lS”). (D.ll
142 at 8) The Si\/lS handles the slot accounting functions and collects player tracking

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data such as a player’s wages The Sl\/lS provides this data to the Cl\/lS, which handles
the marketing and reporting functions of the casino. (/d.)

There are several components to the slot network. A “host computer" is located
at the back end of the system in the control room and maintains a database of PTC
holders A slot interface board, or “controller,” is located between the gaming machine
and the host computer; it receives and transmits instructions and messages between
the components Finally, the “player account” is the location on the network that
records the amount of funds available to a player. Player accounts are often
categorized according to the level of gaming activity by the player (e.g., silver, gold or
piatinum); defendants’ products are targeted to specific players as compared to specific
gaming devices (/d.)

B. The Patents in Suit

All three patents in suit share the same named inventors (John F. Acres, Alec
Ginsburg, and David Wiebenson) and assignee (Acres Gaming incorporated (“Acres”))
on the face of the patents Plaintiff acquired each patent when it acquired Acres in
2003.

1. The ‘885 Patent

The ‘885 patent is a reissue of U.S. Patent No. 5,752,882 (“the ‘882 patent”),
issued May 19, 1998. The ‘882 patent was filed on June 6, 1995 as U.S. Patent
Application 08/465,915, a divisional application claiming priority to U.S. Patent
Application Nol 08/322,172, filed October 12l 1994, now U.S. Patent No. 5,655,961

(“the ‘961 patent”). The reissue application (No. 09/573,470) leading to the ‘812 patent

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was filed on May 16, 2000.
Plaintiff asserts that defendants’ products infringe claims 1, 10, 22, 33 and 46 of
the ‘885 patent. All five independent claims share the backbone reproduced beiow.

A method of operating gaming devices interconnected by a host computer
having a user-operated input device comprising: associating each gaming device
with a unique address code; preseiecting less than all of the gaming devices
interconnected by the host computer responsive to a user-effected action at the
input device which identifies the preseiected gaming devices with the respective
associated address codes; using the network to track activity of the preseiected
gaming devices [. . .]

in addition to the foregoing, claims 1, 10, 22, 33 and 46 contain additional
limitations, as reproduced below.

1. [. . .] initiating a bonus play period; issuing a command over the network to
each of said preseiected gaming devices responsive to initiation of the bonus
play period; and paying a bonus at each of said preseiected gaming devices in
accordance with the command.

10. [. . .] issuing a command over the network to one of said preseiected
gaming devices responsive to a predetermined event; and paying at said one
gaming device in accordance with the command.

22. [. . .] initiating a bonus play period; issuing a command over the network to
each of said preseiected gaming devices responsive to initiation of the bonus
play period; and paying a bonus via each of said preseiected gaming devices in
accordance with the command.

33. [. . .] initiating a bonus play period; generating a message including data
related to a payment amount; transmitting the message over the network to at
least one of said preseiected gaming devices responsive to a predefined event;
and paying via at least said one gaming device during the bonus play period in
accordance with the message

46. [. . .] issuing a command over the network to at least one of said preseiected

gaming devices responsive to a predefined event; and paying via at least said
one gaming device in accordance with the command.

2. The ‘812 Patent

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The ‘812 patent is a reissue of U.S. Patent No. 5,836,817 (“the ‘817 patent”),
issued November 17, 1998. The ‘812 patent is related to the ‘855 patent; it was issued
'from divisional application 08/465,717, the sister application to U.S. Patent Application
08/322,172 (issuing as the ‘961 patent). The reissue application (No. 09/574,632)
leading to the ‘812 patent was also filed on May 16, 2000.

Plaintiff asserts that defendants’ products infringe claims 21 and 44 of the ‘812
patent, as reproduced below.

22. A method of operating gaming devices interconnected by a computer
network to a host computer having a user-operated input device comprising:
preseiecting less than all of the gaming devices interconnected by the computer
network responsive to a user-effected action at the input device; using the
network to track the amount of money played on the preseiected gaming
devices; allocating a predetermined percentage of the money played to a bonus
pool; and issuing a command over the network to cause a bonus to be paid from
the pool by one of said preseiected gaming devices upon the occurrence of a
predetermined event

44. A method of operating gaming devices interconnected by a computer
network to a host computer comprising: selecting a plurality of the gaming
devices; generating a message including data establishing criteria to cause a
bonus to be paid via one of said selected gaming devices upon the occurrence
of a predetermined event; transmitting the message over the network; storing the
message in a memory connected to a controller associated with only one of the
gaming devices; transmitting data indicative of gaming device activity from the
gaming device to the controller; transmitting a pay command from the controller
to the gaming device upon the occurrence of the predetermined event; and
paying the bonus via the gaming device responsive to receipt of the pay
command. .laddend..iadd.

3. The ‘983 Patent
The ‘983 patent issued from U.S. Patent Application No. 09/832,425, filed April
10, 2001, a continuation of U.S. Application No. 08/672,217, filed on June 25, 1996,

now U.S. Patent No. 6,244,958. John Acres is the sole named inventor. Plaintiff

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asserts infringement of claim 1, which reads as foilows:
1. A method for providing incentive to play gaming devices connected by a
network to a host computer comprising: associating each gaming device with an
input device for receiving player identification; associating unique player
identification with a gaming device piayer; creating a player account accessible
by the host computer; associating the unique player identification with the player
account; applying a promotional credit to the piayer's account; permitting the
player to access the account; transferring promotional credit in the account to the
gaming device; permitting the player to wager the promotional credit; and
preventing the promotional credit from being cashed out by the player.
iii. STANDARD OF REViEW
A court shall grant summary judgment only if “the pleadings, depositions,
answers to interrogatories and admissions on tile1 together with the affidavits, if any,
show that there is no genuine issue as to any material fact and that the moving party is
entitled to judgment as a matter of law.” Fed. R. Civ. P. 56(c). The moving party bears
the burden of proving that no genuine issue of material fact exists See Matsushita
Elec. /ndus. Co. v. Zenith Radio Corp., 475 U.S. 574, 586 n.10 (1986). “Facts that
could alter the outcome are ‘material,’ and disputes are ‘genuine’ if evidence exists from
which a rational person could conclude that the position of the person with the burden
of proof on the disputed issue is correct.” Horowitz v. Fed. Kemper Life Assurance Co.,
57 F.3d 300, 302 n.1 (3d Cir. 1995) (internal citations omitted). if the moving party has
demonstrated an absence of material fact, the nonmoving party then “must come
forward with ‘specific facts showing that there is a genuine issue for trial.’" Matsushita,
475 U.S. at 587 (quoting Fed. R. Civ. P. 56(e)). The court will “view the underlying facts

and all reasonable inferences therefrom in the light most favorable to the party

opposing the motion." Pa. CoalAss’n v. Babbitt, 63 F.3d 231, 236 (3d Cir. 1995). The

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mere existence of some evidence in support ofthe nonmoving party, however, will not
be sufficient for denial of a motion for summary judgment; there must be enough
evidence to enable a jury reasonably to find for the nonmoving party on that issue. See
Anderson v. L/'berty Lobby, lnc., 477 U.S. 242, 249 (1986). if the nonmoving party fails
to make a sufficient showing on an essential element of its case with respect to which it
has the burden of proof, the moving party is entitled to judgment as a matter of law.
See Ce/otex Corp. v. Catrett, 477 U.S. 317, 322 (1986).
iV. DiSCUSSiON

A. infringement

A patent is infringed when a person “without authority makes, uses or sells any
patented invention, within the United States . . . during the term of the patent.” 35
U.S.C. § 271(a). A court should employ a two-step analysis in making an infringement
determination Markman v. Westview /nstruments, /nc., 52 F.3d 967, 976 (Fed. Cir.
1995). First, the court must construe the asserted claims to ascertain their meaning
and scope. /d. Construction of the claims is a question of law subject to de novo
review. See Cybor Corp. v. FAS Techs., 138 F.3d 1448, 1454 (Fed. Cir. 1998). The
trier of fact must then compare the properly construed claims with the accused
infringing product ll/iarkman, 52 F.3d at 976. This second step is a question of fact
See Bai v. L & L i/l//`ngs, /nc., 160 F.3d 1350, 1353 (Fed. Cir. 1998). Literal infringement
occurs where each limitation of at least one claim of the patent is found exactly in the
alleged infringer's product Pandu/'t Corp. v. Dennison Mfg. Co., 836 F.2d 1329, 1330

n.1 (Fed. Cir. 1987). “if any claim limitation is absent from the accused device, there is

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no literal infringement as a matter of law.” BayerAG v. E/an Pharm. Research Corp.,
212 F.3d 1241, 1247 (Fed. Cir. 2000). lfan accused product does not infringe an
independent claim, it also does not infringe any claim depending thereon. Wahpeton
Canvas Co. v. Front/'er, /nc., 870 F.2d 1546, 1553 (Fed. Cir. 1989). The patent owner
has the burden of proving infringement and must meet its burden by a preponderance
of the evidence. Sm/'thK//'ne D/`agnost/'cs, /ncl v. He/ena Lab. Corp., 859 F.2d 878, 889
(Fed. Cir. 1988) (citations omitted).
1. Power Rewards
a. The Power Rewards product3

Power Rewards gives players an opportunity to win rewards based on their
gaming play. its functionality has been described by the parties as “Play ‘X’, Get "Y"
since an eligible patron that wagers ‘X’ dollars while a promotion is active will get ‘Y’
dollars as an award.

A Power Rewards progressive promotion operates in four steps in the first step,
a casino operator sets up a Power Rewards promotion on the host computer by setting
the relevant parameters for the promotion. in the Power Rewards context, these
parameters are start and end date, the type of award credit, the amount of dollars the
player must play to receive the award amount (“Play X”), the number of days the player
has to reach the play amount, the award amount the player will receive upon reaching
the play amount (“Get Y"), and the types of participating gaming devices in step two,

the casino operator selects a group of players (such as by account status) and assigns

 

3The parties do not dispute the functionality of Power Rewardsl (D.l. 179 at 8;
D.l. 192 at 11-13; D.l. 213 at 3, 21-22; D.l. 218 at 1)

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the Power Rewards promotion to those players The promotion becomes active at the
start time specified by the operator in step one. in step three, a qualified player places
his PTC in a Power Rewards-eligible gaming device. At this time, the host computer
sends “transaction #151 containing information about the promotion (such as the Play
X, Get Y, and amounts already wagered by a player) to the controller associated with
that gaming device. The controller then tracks the amount of credits played by that
player during that playing session at that gaming device.

At step four, once a player reaches the appropriate “Play X” amount the
controller causes the “Promo” function key associated with the gaming device to flash.
'l'he player can then press the Promo key and choose the amount of “Get Y” credits to
put on the gaming device. if the player does not press the Promo key, the “Get Y”
amount is stored in a “promotional detail 'file” at the host computer.

b. Ciaim limitations at issue

Plaintiff asserts that Power Rewards infringes claims 21 and 44 of the ‘812
patent and claims 1, 10, 22l 33 and 46 of the ‘885 patent

As a threshold matter, each of these claims requires that a “command” or
“message” be issued over the network causing payment to be made to a player_ The
parties dispute whether transaction # 151 is such a “command” or “message." The
parties also dispute whether Power Rewards pays a “bonus” as that term is used in
claims 1 and 22 of the ‘885 patent and claims 21 and 44 of the ‘812 patent

Ciaim 21 of the ‘812 patent requires “issuing a command over the network
including data establishing criteria to cause a bonus to be paid via one of said selected

gaming devices upon the occurrence of a predetermined event.” Ciaim 44 of the ‘812

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patent requires “generating a message including data establishing criteria to cause a
bonus to be paid via one of said selected gaming devices upon the occurrence of a
predetermined event.” Assuming transaction # 151 is a “command,” the parties
disagree about whether Power Rewards issues transaction # 151 “upon the occurrence
of” a “predetermined event” as required by these claims Ciaim 10 of the ‘885 patent
similarly requires “issuing a command over the network to one of said preseiected
gaming devices responsive to a predetermined event.” The parties present the above
arguments as to claim 10.

in addition, the parties dispute whether Power Rewards issues transaction # 151
“responsive to initiation of the bonus play period” as required by claims 1 and 22 of the
‘885 patent. The parties also debate whether Power Rewards pays a reward “in
accordance with” transaction # 151, as required by all asserted claims of the ‘885
patent

c. “Command” or “message” (ciaims 21 and 44 of the ‘812
patent and claims 1, 10, 22, 33 and 46 of the ‘885 patent)

Plaintiff asserts that transaction # 151 of Power Rewards is the “command” or
“message” containing such a command as defined by the court which is “a command
that rearranges the previous configuration of the gaming device so that the gaming
device pays out extra money it would not have paid in its previous configuration.”
Defendants assert that transaction # 151 is not a reconfiguration command because it
does not alter the jackpot or winning payouts on a participating machine; it only
provides that if a player “plays X” she will “get Y.” (D.l. 192 at 26) All regular payouts

remain the same.

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The reconfiguration command can provide a variety of promotional bonuses
described as multiple jackpot bonuses mysteryjackpot bonuses progressive jackpot
bonuses or player-specific bonuses (‘812 patent abstract; col. 3, ll. 10-21) Mystery
jackpots for example, may be paid “even when a jackpot was not won.” (/d., col. 36, lll
55-64) The court has defined “bonus” as used in the claims as a payment that can be
awarded regardless of the outcome on the gaming device. Consistent with this
definition, the court does not limit a “reconfiguration command" to one directing
additional payment on a jackpot or winning pull; any payment that the device would not
have paid in its previous configuration will suffice.

There is no genuine dispute that transaction # 151 is a “command" or “message”
as described by the claims because it directs the machine to “pay Y,” or “extra money it
would not have paid in its previous configuration.” Defendants’ expert Nir. leght
Crevelt admits that “an eligible patron receives a Power Rewards reward merely by
playing the required amount on eligible machines during the time period set for the
promotion, regardless of whether that patron ever won a jackpot on any eligible
machine during that promotion." (D.l. 179 at 17, citing JA1904-05) That is transaction
# 151 provides for an award that a player would not receive during regular play (“Y”).
The fact that a player may not “Get Y,” in the event she does not “Play X,” does not
change the fact that transaction # 151 was issued or transmitted to the gaming device
to cause payment of “Y” under those circumstances

d. “Bonus” (ciaims 1 and 22 of the ‘885 patent and claims 21
and 44 of the ‘812 patent)

For similar reasons defendants’ argument that Power Rewards does not pay a

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“bonus” is unpersuasive (D.l. 192 at 32) By its order of the same date, the court has
construed “bonus” as a “reward or payment in addition to any payout specified by the
normal gaming device pay tabie,” which “may be awarded to a player whether the
outcome on the gaming device is a win, loss or no outcome at all.” There is no dispute
that “Get Y” is a reward or payment in addition to the standard gaming machine
payouts; therefore, this limitation is met

e. “Upon the occurrence of” or “responsive to” a

“predetermined event” (ciaims 21 and 44 of the ‘812 patent,

claim 10 of the ‘885 patent)

Ciaim 10 of the ‘885 patent requires “issuing a command over the network to one
of said preseiected gaming devices responsive to a predetermined event.” in contrast
claims 21 and 44 of the ‘812 patent require issuing a “command” (ciaim 21) or
“message” (ciaim 44) “including data establishing criteria to cause a bonus to be paid
via one of said selected gaming devices upon the occurrence of a predetermined
event.” That is in the context of the ‘812 patent it is not the command itself that is
generated in response to the predetermined event - the command contains data
including the predetermined event upon which to pay the bonus

i. ‘885 patent

With respect to the ‘885 patent plaintiff argues that the player’s insertion of the
PTC is the “predetermined event” that causes the “command” itself, transaction # 151,
to be generated (D.l. 239 at 10) Plaintiff cites Mr. Creveit’s expert report stating that
“the transaction # 151 message is sent in response to an eligible patron inserting his

card at one of the gaming machines preseiected to be a part of the Power Rewards

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promotion." (/d., citing D.l. 237 at JA1903l 1111 237-38)

By its order of the same date, the court has construed the “issuing a command
over the network to one of said preseiected gaming devices responsive to a
predetermined event” limitation as “issuing a command in reply or reaction to the
occurrence of one or more conditions chosen in advance.”4 The court does not limit the
term, as defendants suggested, by requiring a determination of what time the triggering
condition will occur. (D.l. 218 at 19) While the predetermined event must obviously be
“predetermined,” or contemplated in advance, its occurrence may be random and still
satisfy the court’s construction. Put another way, it is the fact of the occurrence, not the
timing of the occurrence, that is dispositive That the event may not happen at all does
not mean that the event was not a condition “chosen in advance.”

Under the court’s construction, the insertion of a PTC qualifies as a
“predetermined event” regardless of the fact that the precise time that this may occur is
unknown. The parties do not dispute that the insertion of an eligible PTC causes
transaction # 151 to be sent to the gaming device. Defendants essentially concede
infringement under this construction. (D.l. 218 at 19-20)

ii. ‘812 patent

With respect to the ‘812 patent plaintiff argues that “Play X” is the

 

4By letter dated i\/larch 4, 2009, the parties informed the court that they now
agree on the following construction of “predetermined event”: “a triggering event that is
determined in advance of its occurrence." (D.l. 273) The dispute now centers around
how the claim is read as a whole and the “upon the occurrence of” and “responsive to”
terms For this reasonl the court has construed the limitation as a whole.
Notwithstanding, the court discerns no significant difference between its definition of
“predetermined event” as incorporated therein, and that posed by the parties

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“predetermined event” or the precedent contained within transaction # 151 that triggers
payment (“Get Y”). (D.l. 239 at 4-6) i\/iore specifically, the Power Rewards User’s
Guide provides that Power Rewards “directly credit[s] slot machines with either
cashable or non-cashable credits upon playing to a variable set amount in order to
achieve the reward.” (ld., citing D.l. 237 at JA2074) in plaintiffs view, Power Rewards
“pays ‘upon the occurrence’ of the predetermined event [Play X] because the player is
paid at the gaming device ‘automatically’ (i.e, ‘non-manually’) ‘upon playing to the
variable set amount’.” (ld. at 6)

The debate between the parties centers around the construction of the full
limitation: “issuing a command over the network including data establishing criteria to
cause a bonus to be paid via one of said selected gaming devices upon the occurrence
of a predetermined event.” Plaintiff argues that properly read, the “upon the
occurrence of a predetermined event” modifies the “bonus to be paid,” rather than the
command or message (D.l. 213 at 28) Defendants assert that “upon the occurrence”
modifies the word “command.” in their view, Power Rewards “does not infringe
because the `command’ is not sent `responsive to’ or `upon the occurrence of’ the start
time of the promotion [the ‘predetermined event’].” (D.l. 192 at 29)

As indicated previously, and as reflected in the court’s claim construction order,
the court agrees with plaintiff that “it is the payment ofthe bonus as opposed to the
command, that responds to the predetermined event” pursuant to claims 21 and 44.
(D.l. 213 at 28) Removing the adverbial phrases the limitation reads: “issuing a
command . . . to cause a bonus to be paid . . . upon the occurrence of a predetermined
event.” The plain import of the phrase is that the bonus is paid upon the occurrence of

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the predetermined event in the case at bar, the parties do not dispute that “Get Y” (the
“bonus”) is paid upon the occurrence of “Play X” (the “predetermined event”).

The court notes that “predetermined event” appears later in claims 21 and 44l
which also require “transmitting a pay command from the controller to the gaming
device upon the occurrence of the predetermined event.” The court has construed this
limitation as “transmitting an instruction related to payment from the controller to the
gaming device in response or reply to the occurrence of one or more conditions chosen
in advance.”

Plaintiff characterizes the “pay command” as “credit the slot machine with the
‘Get-This-Amount’ converted to credits” identified in the Power Rewards manual. (D.l.
179 at 15, citing D.l. 237 at JA2076) This instruction follows the player’s pressing of the
“PROMO” key. That is the manual provides that if the “Amount-Already-Played” “gets
greater than or equal to the ‘Play-This-Amount,’ flash the PROMO button key and stop
the accumulation”; thereafter, “[i]f the PROMO button is pressed while it is flashing,
credit the slot machine with the ‘Get-This-Amount’ . . . (D.l. 237 at JA2076) in their
opening brief, defendants argue that a pay command is not transmitted “upon the
occurrence of” “Play X” because a player must initiate the withdrawal of funds by
pressing the PROl\/lO button. (D.l. 192 at 31; D.l. 218 at 10)

Defendants consistently interpret both “upon the occurrence of’ and “in

accordance with” as being synonymous with the term “automatic.”5 With respect to the

 

5Defendants’ argument regarding the “upon the occurrence of’ limitation parallels
that made in the context of the “in accordance with” limitation found in the ‘885 patent
discussed infra.

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‘812 patent defendants argue that the reward withdrawal process (initiated by pressing
the PROMO button) is an intervening step between “Get Y” and the receipt of the
reward, bringing Power Rewards outside ofthe claims
Defendants cite a single sentence in the specification in support of their
construction: that “a need remains for an automated method and apparatus to provide
bonusing for gaming devices.” (D.l. 218 at 12, citing ‘885 patent col. 22, ll. 25-276)
The patents are directed to eliminating the technique of “having an attendant manually
pay out the additional payout amount,” and do not describe (or claim) any particular
manner of automated payout (‘812 patent col. 2, ii. 21-22) Defendants point to no
express disclaimers over a method of payment comprising a withdrawal process with
more than one step. The patents are not directed to a precise method of automated
redemption. For these reasons the court declines to limit the claims to require an
“automatic” payment in the manner advocated by defendants.7
f. “issuing a command over the network to each of said
preseiected gaming devices responsive to initiation of the
bonus play period” (ciaims 1 and 22 of the ‘885 patent)
Ciaims 1 and 22 of the ‘885 patent require that the command be issued

“responsive to the initiation of the bonus play period.” By its order of the same date, the

 

6Corresponding to col. 2, ll. 36-38 of the ‘812 patent.

7in their claim construction papers the parties specifically disputed the term “pay
command”: plaintiff argued that this is an instruction related to payment while
defendants argued that it is a command causing automatic payment of the bonus (D.l.
167) The parties focus more on the “upon the occurrence of” segment than “pay
command” in their summary judgment briefs The court has construed the limitation as
a whole, noting that payment need not be “automatic” or effected without any additional
steps

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court has construed “bonus play period” as “the period during which the bonus
promotion is active.” According to defendants the “bonus play period” is the “time
during which Power Rewards is configured to start and stop.” (D.l. 192 at 27) Plaintiff
asserts that the “bonus play period” is initiated when an eligible player inserts his PTC.
(D.l. 179 at 26) That is inserting the PTC causes transaction # 151, including the “Play
X, Get Y” pay instruction to be generated (/d.)

The specification states that a bonus can play until the bonus payout exceeds
the bonus pool - an unspecified amount of time (‘885 patent col. 37, ll. 5-48) For this
reason, the court did not limit its construction of “bonus play period” to a pre-specified
period of time as defendants advocated. Nevertheless the court finds plaintiffs
infringement evidence deficient under the court’s constructionl Power Rewards has a
defined start time specified by the casino operator in step one Plaintiff does not
dispute this point (D.l. 213 at 3 & n.3; D.l. 179 at 8) Power Rewards thus becomes
“active” at the predetermined start time - regardless of whether any players have
inserted their PTCs at that time There is no indication that a Power Rewards
promotion commences upon the insertion of a PTC; rather, the insertion of a PTC
during an active promotion simply enrolls the player in the promotion. insertion of the
PTC may initiate transaction # 151, but there is no direct link between the start of
Power Rewards (by the casino operator in step one) and transaction # 151 (following
the insertion of a PTC during an active promotion). Plaintiff points to no such evidence
(D.l. 179 at 27; D.l. 213 at 24; D.l. 239 at 7-8)

g. Paying “in accordance with” the “command” or “message”

(ciaims 1, 10, 22, 33 and 46 of the ‘885 patent)

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The asserted claims of the ‘885 patent require paying a bonus “in accordance
with” the command or message Defendants assert that Power Rewards does not pay
an award in accordance with transaction # 151 because it is undisputed that a player
must initiate a series of funds-withdrawal commands on a machine (starting with
pressing the PRO|V|O button) in order to actually obtain the award.8 (D.l. 192 at 30)
Defendants assert that payment must be made “automatically” upon the receipt of the
command. (D.l. 171) Plaintiff asserts that this limitation is met when transaction # 151
makes the bonus available regardless of the subsequent withdrawl step(s). (D.ll 213 at
26) According to plaintiff, the relevant innovative aspect of the ‘885 patent is the
automation of the payment process; thus “automatic” payment is made when a player
is eligible for payment at the gaming device without having to receive a manual payout
(ld.)

As indicated previously, the court finds plaintiff’s position more convincing, and
has provided in its claim construction order that “the command or message makes the
bonus available The claims do not require that the bonus is paid ‘automatically’ or
without any subsequent withdrawal steps upon receipt of the pay command.” The
specification does not support effectively narrowing the claims to require “automatic”

payment ofthe bonus9 Defendants point out that the specification does describe a

 

E"l'he Power Rewards User’s Guide, cited by plaintiff in its infringement chart for
this limitation, confirms that the PROi\/iO key must be pressed to convert the “Get-This-
Amount” reward to cashable or non-cashable credits as instructed by transaction # 151.
(D.l. 179 at 25, citing JA2076 at BALLY236075)

9'l'he claim term that the parties sought the court’s construction of was not “in
accordance with,” but “paying.” ln this context defendants asserted that “paying"
means “paying a bonus . . . automatically upon receipt of the command,” while plaintiff

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bonus as being “automatically paid,” without further detail, but this phrase was
contained in a paragraph describing “another embodiment of the bonus time
promotion." (D.l. 190 at 35, citing ‘885 patent col. 26:24-31) Again, the patents are
directed to eliminating manual payouts and do not describe particular methods of
automated payouts

in their claim construction brief, defendants cite several statements made to the
examiner during prosecution of the ‘885 patent in which the applicants distinguished
the “automatic” payment of the invention from “payment to the player by the cashier.”
(D.l. 190 at 36-37) None ofthese statements specifically disclaim or distinguish an
automated payment that is immediately usable by the player with one that requires any
withdrawal steps The applicants’ use of the word “automatic” in this context is not
controlling, especially considering the context of discussing “automated” payments
Defendants point to no express disclaimers over a method of payment comprising a
withdrawal process with more than one step.

Based on the foregoing, the court does not restrict the claim to the “automatic”

availability of the promotional reward as defendants suggest10 The claims require only

 

advocated that “paying” means “making a bonus available at each of the preseiected
gaming devices in accordance with the command.” (D.l. 190 at 34)

10The court notes that claims 21 and 44 of the ‘812 patent also require “paying
the bonus via the gaming device responsive to receipt of the pay command.” The
parties did not specifically dispute the construction of “responsive to” as used in this
limitation. (D.l. 167 (ciaim chart); D.l. 190) insofar as the court is not aware ofany
disclaimer with respect to this term, the court’s analyses with respect to “upon the
occurrence of’ and “in accordance with” is equally applicable to the “responsive to”
limitation of claims 21 and 44 the ‘812 patent The court construes these phrases
consistently.

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that the “command” or “message” (transaction # 151) provides for the payment of the
bonus at the gaming device There is no dispute that a player who “Plays X" will “Get
Y” and that the “Get Y” award is available on the gaming device.11
h. Conclusion

For the aforementioned reasons the court finds the following. Summary
judgment of infringement is appropriate on claims 10, 33, and 46 of the ‘885 patent
insofar as Power Rewards meets the following contested limitations: “command”
(ciaims 10, 46); “message” (ciaim 33); “initiating a bonus play period” (ciaim 33);
“responsive to a predetermined event” (all claims); “paying at said one gaming device in
accordance with the command” (ciaim 10)', and “paying . . . in accordance with the
message” (ciaims 33, 46).

Summary judgment of noninfringement is appropriate on claims 1 and 22 of the
‘885 patent insofar as Power Rewards does not issue a “command” (ciaim 1) or
“message” (ciaim 22) that is “responsive to initiation of the bonus play period” as
required by those claims

Summary judgment of infringement is appropriate on claims 21 and 44 of the
‘812 patent insofar as Power Rewards meets the following contested limitations
“command” (ciaim 21); “message” (ciaim 44); “issuing a command . . . to cause a bonus
to be paid . . . upon the occurrence of a predetermined event” (ciaim 21); and

“generating a message . . . to cause a bonus to be paid . . . upon the occurrence of a

 

11This is the case regardless of whether a player actually presses the “PROMO"
button or elects not to, foregoing the immediate opportunity to access the award in
favor of, perhaps redemption at another eligible machine

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predetermined event” (ciaim 44).
2. Power Winners
a. The Power Winners product12

Power Winners allows a casino operator to create and run progressive jackpot
promotions Power Winners has two main components the Power Winners i\/lanager
and the Promotlonal Progressive Engine (“PPE”). The Power Winners i\/lanager
includes software that performs “front end” processing lt provides the user interface
that the casino marketing manager uses to set a promotion, polls the PPE for
promotions that have ended and are ready for a winner to be picked, selects the
winning player(s) at the end of the promotion, and calculates the payouts. The PPE
performs the “back end” processing for Power Winners; it uses random numbers to
periodically check for a winner and, if one is not picked, the progressive jackpot is
increased

A Power Winners progressive promotion operates in six steps13 in step one, lthe
casino operator configures the promotion. Similar to Power Rewards step one includes
the operator’s entering the parameters for the promotion (including time, date, average
win amount average length of the promotion, player eligibility information, gaming

devices to be included, and payment type). in the second step of Power Winners

 

12The parties do not dispute the basic operation of Power Winners. (D.l. 192 at
9-11; D.l. 213 at 3) With respect to each accused product the court omits pinpoint
citations to the record, noting that it has summarized the parties resuscitation of the
facts from their opening briefs and neither party specifically contested the facts in their
answering briefs

13As described by plaintiff’s expert Defendants agree that this description is
accurate (D.l. 192 at 9-11, citing D.l. 237 at JA04368 et seq.)

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these parameters are passed to the PPE, which stores them so that it can process the
promotion as its intended start time

The PPE processes the promotion in the third step. lt divides the total
approximate time for the promotion into 125 separate “time slices.” At each slice, a
“ticket” is drawn frorn a pool of 1,000,000 tickets and if the drawn ticket is a winner, the
progressive ends ifthe drawn ticket is not a winner, the PPE increases the size of the
progressive jackpot and proceeds to the next time slice in defendants’ first version of
the PPE, if no winning ticket had been picked by the 125th time slice, the PPE would
end the promotion. in Power Winners’ current version, the promotion continues until
the winning ticket is picked.14

in step four, the PPE notifies the host computer that a winning ticket has been
picked. The Power Winners application on the host computer then randomly picks a
winning player. There are two platforms upon which its SMS and CMS systems can
run: the SDS/CMP platform, and the ACSC platform Power Winners operates
differently based on the underlying platform in the SDS/Ci\/iP version of Power
Winners the jackpot is placed in the winning player’s account ifthe promotion is not
configured to manually pay out the jackpot. in the ACSC version of Power Winners
Power Rewards is the jackpot notification and partial delivery mechanism

in step five the host computer notifies the winners The parties do not dispute
that “transaction # 151 is the Power Rewards “Play X, Get Y’ transaction used by

Power Winners to facilitate the transfer of the progressive jackpot to the winning player.

 

14lt is not clear from the record when the functionality ofthe PPE was changed
The parties frame their arguments in terms ofthe current version of Power Winners

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After the ACSC Power Winners application randomly selects a winning player, it sends
the ‘Play X, Get Y’ transaction to the controller associated with the gaming device that
hosts the winning player. in this case, the ‘Play X’ amount is $0 and the ‘Get Y’ amount
is the Power Winners progressive jackpot." (D.l. 192 at 16-17; D.l. 213 at 6, n.6)

in the last step, the winning player withdraws the jackpot. in SDS/Ci\/iP Power
Winners the jackpot is withdrawn at this step from the player’s account through a
series of withdrawal steps at the gaming device; in ACSC Power Winners a Power
Rewards transaction is sent and the player must initiate the withdrawal process by
pressing the “PROl\/iO” button on the gaming device, which also involves a series of
withdrawal steps in either format the winner may withdraw less than the total jackpot
awarded.

b. Ciaim limitations at issue

Plaintiff asserts that Power Winners infringes claims 10, 33 and 46 of the ‘885
patent Specifically, the parties dispute whether Power Winners issues a “command”
(ciaims 10, 46) or “message” (ciaim 33) over the network “responsive to a predefined
event” (ciaim 33, 46) or to a “predetermined event” (ciaim 10). The parties also contest
whether Power Winners pays a reward “in accordance with” the command or message
(all claims) and/or pays “during the bonus play period” (ciaim 33).

c. “Command” or “message” (all claims)

Plaintiff asserts that the “command” or “message” is transaction # 151 for ACSC

Power Winners and “DM33” for SDS/CMP Power Winners. (D.l. 213 at 6) For the

reasons previously stated, the court agrees that transaction # 151 is a “command” or

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“message” under its construction. in the context of Power Winners transaction # 151
provides a jackpot that was not available under the machine’s normal gaming pay table
The court will proceed to address Dl\/i33.

The court first notes that plaintiff does not identify Di\/i33 in its infringement claim
chart Plaintiff asserts that the “command” or “message” relating to payout is made by
the PPE in response to the drawing ofa winning ticket (D.l. 179 at 31 (ciaim chart)) in
support plaintiff cites defendants’ “Promotional Progressive Engine (PPE) installation
Guide," dated 2006, which provides that the PPE determines a winner when a winning
ticket is drawn, but does not describe a particular instruction to pay an award. (ld.,
citing D.l. 237 at JA2227-28) Plaintiff also cites lVlr. Crevelt’s expert report in which he
states that after a winning patron is selected, “the winning patron is notified that they
have won the jackpot[.]” (ld., citing D.l. 237 at JA1799, 11 39) Plaintiff does not identify
any evidence describing DlVl33 in any detail.

According to defendants “Dl\/i33 is a notification sent by the host computer to the
display on the gaming device that informs the player that they have won Power
Winners lt is not a reconfiguration command and does not contain one” (D.l. 192 at
16) in support defendants cite the expert report of Dr. Kelly, which states that Power
Winners “formulates and sends a message to the GMU associated with the gaming
device that hosts the winning patron. This message includes the patron’s first name
and winning amount The message is displayed to the player at the Player Tracking
Display associated with the gaming device” (ld., citing D.l. 237 at JA4412-13, 11 93)

Additionaily, Dr. Kel|y stated at his deposition that he had not analyzed whether Dl\/i33

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rearranges the previous configuration of the gaming device and was not sure that it did.
(D.l. 237 at JA3564, 150:17-23) Plaintiff did not refute defendants’ arguments in its
answering brief, only arguing that defendants themselves agree that DM33 is an
“instruction" that would infringe under a broader claim interpretation (D.l. 213 at 6)

There is no indication of record that DM33 does anything other than inform a
player of his bonus winnings A message that simply informs the Winning Powers
player that he has won is not a “command” or “message” as defined by the court that
is it does not rearrange the previous configuration of the gaming device so that it pays
out extra money lt would not have paid in its previous configuration Summary
judgment of noninfringement is granted with respect to SDS/CMP Power Winners

d. issuing a “command” (ciaims 10, 46) or “message” (ciaim
33) “responsive to a predetermined event” (ciaim 10) or
“responsive to a predefined event” (ciaim 33, 46)

As stated previously1 the parties agree that in Power Winners transaction # 151
is sent to the controller associated with the gaming device with the “Play X” ($0), “Get
Y” (jackpot) instruction (D.l. 192 at 16-17; D.l. 213 at 6, n.6) The dispositive question
is whether transaction # 151 is issued responsive to a “predetermined” or “predefined”
event The event or “trigger,” according to plaintiff, is the “‘puil from the hat’ that has a
number less than or equal to the number from the Winning Ticket Table" by the PPE.
(D.l. 179 at 32, citing D.l. 237 at JA2227-28 (PPE installation Guide))

The parties do not dispute that the winning “pull from the hat" causes the
issuance of transaction # 151, rather, the parties primarily dispute whether knowing

what occurrence will cause the command to be issued (the pull from the hat), without

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necessarily knowing the time of that occurrence suffices to make the event
“predetermined” or “predefined.” As with Power Rewards plaintiff argues that the fact
that an event will occur upon a set of conditions is all that need be known in advance
while defendants argue that more concrete information must be ascertainable As
discussed previously, the court finds plaintiffs interpretation more convincing. An event
may be “predetermined” or “predefined” notwithstanding that the precise time of its
occurrence is unascertainable

Defendants also argue that transaction # 151 is not sent “responsive to” the
winning ticket pull, it is sent “responsive to” the selection of a winning player. (D.l. 192
at 19-20) That is “the random winning player selection process is a major intervening
step between [when] the PPE picks a random winning “ticket” . . . and when . . .
transaction # 151 . . . is sent.” (ld. at 21) in defendants’ logic, “if events A, B, C, D, and
E occur in order, E is “responsive to’ D, D is ‘responsive to’ C, and so on.” (ld. at 20)
Defendants essentially advocate a definition of “responsive to” that includes within its
definition a time limit requirement that is an immediate result between events
Defendants however, do not support their reading with any evidence either in the
specificationl prosecution history of the patents, or othen/vise, and the court declines to
effectively limit the claims on this record.

e. Paying “in accordance with” the “command” or “message”
(ciaims 1, 10, 22, 33 and 46)

Defendant reiterates its arguments with respect to ACSC Power Winners that the
act of pressing the “PRO|V|O” button to obtain a bonus award means that the award is

not paid “in accordance with” the “command” or “message” For reasons discussed

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Supra, the court disagrees

f. “Paying via at least said one gaming device during the
bonus play period in accordance with the message” (ciaim 33)

Ciaim 33 of the ‘885 patent requires that the gaming device is paid “during the
bonus play period in accordance with the message” As noted previously, the court has
construed “bonus play period” as “the period during which the bonus promotion is
active.” According to defendants the Power Winners jackpot is paid after - not during
-the bonus play period insofar as the Power Winners promotion ends when the PPE
picks a winner. (D.l. 192 at 24) Dr. Kelly reflects in his expert report that “Ci\/lP Power
Winners i\/ianager allows up to 10 players to be chosen as winners when the promotion
ends [ACSC Power Winners i\/lanager chooses only one winner].” (/d., citing D.l. 237 at
JA4407-08, 11 85) That is “if the drawn ticket is one among the winning tickets the
progressive ends This idea is implemented in the source code, for example PPE
version 1.0[.]” (/d., citing D.l. 237 at JA4415, 11 103) A winning patron receives the
message and win amount on the display associated with the gaming device; “[i]n
response to the message the player may choose to withdraw the winning amount onto
the credit meters of the gaming device.” (/d., citing D.l. 237 at JA4415, 11 93) According
to defendants there is no indication that the player may make this withdrawal during the
bonus play period, because that has ended prior to the award notification (/d.)

Plaintiff points out that Dr. Kelly, during his deposition, stated that the bonus play
period is still active while a player is in the process of bring paid. (D.l. 213, citing D.l.
237 at JA3588, 245-46) Plaintiff generally argues that “every Power Winners promotion

continues until these two components [the PPE and Power Winners i\/ianager] have

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performed their respective processing," but the PPE installation Guide, cited by plaintiff,
does not directly support its interpretation (ld., citing D.l. 237 at JA2222-23)

Clearly, the PPE “only functions . . . to add money to a growing time-based
progressive and determine when the award is won.” (D.l. 237 at JA2225) The Power
Winners Manager (“casino-side software”)l after being notified that there is a winner
and the value of the pot is responsible for the selection of the winner (id.) and Power
Rewards is the mechanism by which the winner is paid (D.l. 192 at 16-17; D.l. 213 at 6,
n.6). The dispositive question is not what software is active and when, but at what point
the bonus promotion ceases to be “active” in ACSC Power Winners after the PPE
determines that an award is won and after the Power Winners Manager notifies the
winner, there is no bonus available to other players15 Presumably, to make another
bonus available the casino operator would have to configure another promotion
Plaintiff points to no evidence suggesting that the promotion, a randomized award
contest amongst eligible players continues past the selection and notification ofthe
winner. (D.l. 213 at 20; D.l. 239) On this record, the court declines to find that ACSC
Power Winners pays the winning player “during the bonus play period.”

g. Conclusion

For the aforementioned reasons the court grants summary judgment of

infringement of claims 10 and 46 of the ‘885 patent with respect to ACSC Power

Winners insofar as ACSC Power Winners issues a “command” (ciaims 10, 46)

 

15in the court’s view, the Power Winners Manager must select a winner prior to
the end of the promotion, insofar as the possibility that an eligible player may win an
award is not foreclosed until one winning player is definitely selected by that software

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“responsive to a predefined event” (ciaim 46) or to a “predetermined event” (ciaim 10),
and pays a reward “in accordance with” the command (ciaims 10, 46). Summary
judgment that ACSC Power Winners does not infringe claim 33 of the ‘885 patent is
appropriate insofar as ACSC Power Winners does not pay “during the bonus play
period.” Summary judgment of noninfringement is granted with respect to SDS/Ci\/lP
Power Winners (all claims), because DM33 is not a “command” or “message” under the
court’s construction
3. Power Promotions
a. The Power Promotions product16

Power Promotions allows two-way transfers of promotional credits awarded to a
player account by the casino to the credit meter on the gaming device With Power
Promotions casino operators can apply a promotional credit to a player’s account in a
variety of ways such as directly crediting the account or awarding credits based on an
amount of play. For example a casino may set up a system whereby “Goid” members
earn one point per dollar spent and “Platinum” members earn two points per dollar
spent Power Promotions allows the casino to convert earned points into credits
Credits, which may be designated cashable or non-cashable may also be awarded by
the casino at its discretion, for example on a player’s birthday. Power Promotions
points or credits are not automatically transferred onto a gaming device when a player’s
PTC is inserted lnstead, the player must draw them down onto the gaming device by

proceeding through a system-specific withdrawal process Once withdrawn1 a player

 

16'l'he parties are in agreement regarding the operation of Power Promotions
(D.l. 179 at 9; D.l. 192 at 13; D.l. 213 at 31-32; D.l. 218 at 1)

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can wager the promotional credit to play the gaming device A player is free to transfer
credits back to his player account at any time
b. infringement analysis

Plaintiff asserts that Power Winners infringes claim 1 ofthe ‘983 patent The
limitation at issue in this regard is “transferring promotional credit in the account to the
gaming device.” By its order ofthe same date the court has defined this limitation as
“applying the promotional credit in the player account to a credit meter on the gaming
device in response to the insertion of a player card alone or with a wager." Plaintiff
argued against the inclusion of the "in response to . . language and did not argue in
its briefing that credits are applied “in response to” the insertion of a player card. (D.l.
179 at 36-37, D.l. 213 at 32; D.l. 239 at 16-17) Plaintiff only argues that Power
Promotions generally applies the credit from the account to the credit meter.

Plaintiff cites defendants’ “SDS 9 Slot Data Systems i\/larketing User Guide,”
dated March 3, 2006, which provides that Power Promotions allows the withdrawal of
player funds as follows “Once a card is lssued, the player inserts the card into any
promotional electronic enabled slot machine to downioad credits When the card is
inserted, the casino’S greeting Scrolls across the display. Using the keypad, the player
selects a transaction type and then follows the instructions that scroll across the
display.” (D.l. 179 at 35 (ciaim chart); D.l. 188, ex. 29 at BALLY11835) This selection
demonstrates that the transfer of credits is not automatic The court stops short of
specifically equating the “in response to” language of claim 1 with the term “automatic,”
as defendants suggest however, plaintiff does not clearly iterate how a multi-step

withdrawl process satisfies the “in response to” limitation

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Dr. Kelly acknowledged in his report that a “patron may choose to withdraw funds
from the player’s account” when his PTC is in use (D.l. 237 at JA044311 11 142)
Plaintiff also cites Mr. Crevelt’s rebuttal report stating that “SDS Power Promotions
allows two-way transfers of promotional credits awarded to the patron’s club account by
the casino to the credit meter on the gaming device” and that “Bally’s ACSC Power
Promotions is similar to that of SDS Power Promotions[_]” (D.l. 188, ex. 8 at 1111 125,
130) Neither statement relates to the “in response to” question at hand.

in short plaintiff has failed to raise a genuine issue of material fact with respect
to whether credits are applied “in response to” the insertion of a player card in Power
Promotlons, and judgment must be entered for defendants

4. Power Bank
a. “Promotional credit”

Power Bank allows patrons to make deposits into their player accounts on the
host computer for subsequent access at the gaming device As with Power
Promotlons, the parties dispute whether Power Bank allows the transfer of promotional
credits rather than money, between a player’s account and a gaming machine
According to defendants Power Bank does not involve the transfer of non-cashable
credits; it is directed to player-deposited money that is always cashable

Plaintiff states that there are two versions of Power Bank - SDS Power Bank and
ACSC Power Bank. (D.l. 179 at 37) Only the latter is accused of infringement (ld. at
9) ACSC Power Bank1 plaintiff argues is marketed as handling both patron-deposited

money as well as casino-awarded promotional credits (/d.) According to the “ACSC

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10.0 Power Bank User’s Guide” (i\/lay 1, 2007) cited by plaintiff, Power Bank enables
patrons to play “cashless” by depositing funds with the casino cage to be used later via
their PTCs. (D.l. 188, ex. 20) “The Si\/iS allows patrons to redeem these credits (via
the cash-out button) or, if supported by the manufacturer’s protocoi, play only
credits (non-cashable) which may be played at that specific game.” (ld.) (emphasis
added)

Dr. Kelly testified that he reviewed the source code and has identified
functionality allowing Power Bank to downioad both cashable and non-cashable credits
to the gaming device (D.l. 188, ex. 57 at 264-66) in contrast Mr. Crevelt states in his
rebuttal declaration that “Power Bank has nothing at all to do with non-cashable
credits"; the code for Power Promotions cannot be compiled with code conferring ACSC
Power Bank capability. (D.l. 188, ex. 8 at 11 140) Dr. Kelly testified that he has seen
documents in which the code for both products was compiled together. (D.l. 237 at
JA3595, 273-76)

Defendants cite marketing materials that indicate that Power Bank allows
patrons to deposit and later access their money via their PTC.17 Defendant also cites
plaintist interrogatory response stating the same. (D.l. 218 at 22, citing JA05021-25)
These documents do not contradict the Power Bank manual, which clearly indicates
that ACSC Power Bank may also, depending on manufacturer protocol, transfer

promotional (non-cashable) credits

 

17The court notes that the citation provided for this document JA01771, does not
correspond to the marketing documents quoted. (D.l. 218 at 22) Plaintiff does not
specifically contest the content ofthis citation in its reply papers (D.l. 239 at 18-19)

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Defendants argue without support that the "source code for transferring non-
cashable credits actually belongs to Power Promotlons, not Power Bank.” (ld. at 23)
Defendants also assert that a casino could not run both Power Promotions and Power
Bank together without a “license key,” however, they have never sold a “license key” for
Power Bank; “ACSC Power Bank is only operational at two casinos" which have not
purchased Power Promotions (D.l. 192 at 23-24) Defendants do not point to any
supporting evidence (or testimony by Mr. Crevelt) on this point These bare assertions
do not raise a genuine issue of material fact See Hi//graeve Corp. v. Symantec Corp.,
265 F.3d 1336, 1343 (Fed. Cir. 2001) (“[A]n accused device may be found to infringe if
it is reasonably capable of satisfying the claim limitations even though it may also be
capable of non-infringing modes of operation.”).

b. “in response to” the insertion of a PTC

Defendants’ alternate non-infringement argument is that Power Bank does not
“transfer[] promotional credit in the account to the gaming device” because as with
Power Promotlons, a player must initiate the withdrawal of credits withdrawal is not
automatic (D.l. 192 at 37) Plaintiff relies on the same evidence discussed with respect
to Power Promotlons, the “SDS 9 Slot Data Systems Marketing User Guide,” for its
infringement analysis of both Power Promotions and Power Bank. (D.l. 179 at 35
(ciaim chart)) As an initial matter, the court is not inclined to apply this document -
clearly labeled for “Power Promotions” - to Power Bank. Notwithstanding, as discussed
previously, there is no indication from this document that the promotional credit is
applied “in response to insertion of a player card.” Plaintiff presents no specific

arguments vis-a-vis Power Bank in this regard. (D.l. 179 at 35, 37-38; D.l. 213 at 33-
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35; D.l. 239 at 18-19) Because there is no indication of record that the transfer of
credits where it is provided for by manufacturer protocol, occurs “in response to
insertion of a player card," judgment must be entered for defendants
5. Conciusion regarding infringement

For the foregoing reasons Power Rewards infringes claims 10, 33 and 46 of the
‘885 patent and claims 21 and 44 of the ‘812 patent and does not infringe claims 1 and
22 of the ‘885 patent ACSC Power Winners infringes claims 10 and 46 of the ‘885
patent and does not infringe claim 33 of the ‘885 patent. SDS/CMP Power Winners
does not infringe the asserted claims Power Promotions and Power Bank do not
infringe the asserted claims

B. Validity

1. Standards

issued patents are presumed valid, and the “underlying determination of
invalidity . . . must be predicated on facts established by clear and convincing
evidence.” Rockwe// /nt’/ Corp. v. United States 147 F.3d 1358, 1362 (Fed. Cir. 1998)
(citations omitted). The Federal Circuit has stated that “[t]his burden is especially
difficult when the [asserted] prior art was before the PTO examiner during prosecution
of the application.” Hew/ett-Packard Co. v. Bausch & Lomb /nc., 909 F.2d 1464, 1467
(Fed. Cir. 1990) (citation omitted). “The presumption of validity under 35 U.S.C. § 282
carries with ita presumption that the examiner did his duty and knew what claims he
was allowing." /ntervetAm., /nc. v. Kee-\/etLabs., /nc., 887 F.2d 1050, 1054 (Fed. Cir.

1989) (citation omitted).

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a. Anticipation

An anticipation inquiry involves two steps First, the court must construe the
claims of the patent in suit as a matter of law. See Key Phar. v. Hercon Labs. Corp.,
161 F.3d 709, 714 (Fed. Cir. 1998). Second, the finder of fact must compare the
construed claims against the prior art. See id.

Proving a patent invalid by anticipation “requires that the four corners of a single
prior art document describe every element of the claimed invention, either expressly or
inherently, such that a person of ordinary skill in the art could practice the invention
without undue experimentation.” Advanced Display Sys. /nc. v. Kent State Univ., 212
F.3d 1272, 1282 (Fed. Cir. 2000) (citations omitted). The Federal Circuit has stated
that “[t]here must be no difference between the claimed invention and the referenced
disclosure as viewed by a person of ordinary skill in the field of the invention.” Scripps
C//`nic & Research Found. v. Genentech, /nc., 927 F.2d 1565, 1576 (Fed. Cir. 1991).
'l'he elements of the claimed invention must be arranged or combined in the same
manner as in the claim, but the reference need not satisfy an ipsissimis verbis test /n
re G/eave, _ F.3d _ , Civ. No. 2008-1453, 2009 WL 777398, *2 (Fed. Cir. Niar. 26,
2009) (citations omitted). “in determining whether a patented invention is [explicitly]
anticipated, the claims are read in the context of the patent specification in which they
arise and in which the invention is described.” G/averbe/ Societe Anonyme v. Non‘h/ake
Mktg. & Supp/y, /nc., 45 F.3d 1550, 1554 (Fed. Cir. 1995). The prosecution history and
the prior art may be consulted “[i]f needed to impart clarity or avoid ambiguity” in

ascertaining whether the invention is novel or was previously known in the art. /d.

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(internal citations omitted).

“A claimed invention cannot be anticipated by a prior art reference if the allegedly
anticipatory disclosures cited as prior art are not enabled.” Amgen, lnc. v. Hoechst
Il/iarion Roussel, Inc., 314 F.3d 1313, 1354 (Fed. Cir. 2003). Additionally, the reference
must “enable one of ordinary skill in the art to make the invention without undue
experimentation.” ln re Gleave, 2009 WL 777398 at *2 (citing /mpax Labs., /nc. v.
Aventis Pharms. /nc., 545 F.3d 1312, 1314 (Fed. Cir. 2008)). “As long as the reference
discloses all of the claim limitations and enables the ‘subject matter that falls within the
scope of the claims at issue’ the reference anticipates - no ‘actual creation or reduction
to practice’ is required.” ln re Gleave, 2009 WL 777398 at *2 (quoting Schering Corp. v.
Geneva Pharms., /nc., 339 F.3d 1373, 1380-81 (Fed. Cir. 2003) and ln re Donohue,
766 F.2d 531, 533 (Fed. Cir. 1985)).

b. Obviousness

“A patent may not be obtained . . . if the differences between the subject matter
sought to be patented and the prior art are such that the subject matter as a whole
would have been obvious at the time the invention was made to a person having
ordinary skill in the art.” 35 U.S.C. § 103(a). Obviousness is a question of law, which
depends on several underlying factual inquiries

Under § 103, the scope and content of the prior art are to be determined;

differences between the prior art and the claims at issue are to be ascertained;

and the level of ordinary skill in the pertinent art resolved. Against this
background the obviousness or nonobviousness of the subject matter is
determined Such secondary considerations as commercial success long felt
but unsolved needs failure of others etc., might be utilized to give light to the

circumstances surrounding the origin of the subject matter sought to be
patented.

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KSR /nt’/ Co. v. Te/ef/ex /nc., 127 S. Ct. 1727, 1734 (2007) (quoting Graham v. John
Deere Co., 383 U.S. 1, 17-18 (1966)). “Because patents are presumed to be valid, see
35 U.S.C. § 282, an alleged infringer seeking to invalidate a patent on obviousness
grounds must establish its obviousness by facts supported by clear and convincing
evidence.” Kao Corp. v. Uni/ever U.S., /nc., 441 F.3d 963, 968 (Fed. Cirl 2006)
(citation omitted).

“[A] patent composed of several elements is not proved obvious merely by
demonstrating that each of its elements was independently, known in the prior art.”
KSR, 127 S. Ct. at 1741. Likewise a defendant asserting obviousness in view of a
combination of references has the burden to show, by clear and convincing evidence
that a person of ordinary skill in the relevant field had a reason to combine the elements
in the manner claimed. /d. at 1741-42. The Supreme Court has emphasized the need
for courts to value “common sense” over “rigid preventative rules” in determining
whether a motivation to combine existed. /d. at 1742-43. “[A]ny need or problem
known in the field of endeavor at the time of invention and addressed by the patent can
provide a reason for combining the elements in the manner claimed.” /d. at 1742.

in addition to showing that a person of ordinary skill in the art would have had
reason to attempt to make the composition or device or carry out the claimed process
a defendant must also demonstrate by clear and convincing evidence that “such a
person would have had a reasonable expectation of success in doing so.”
PharmaStem Therapeutics, /nc. v. i//'aCe//, /nc., 491 F.3d 1342, 1360 (Fed. Cir. 2007).

2. Defendants’ motion for summary judgment of invalidity of the ‘983
patent

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a. ‘983 patent intrinsic record

The ‘983 patent was filed as United States Patent Application No. 0/832,425
(“the ‘425 application”) on April 10, 2001. The ‘425 application is a continuation of U.S.
Patent Application No. 08/672,217, filed June 25, 1996, now issued as U.S. Patent No.
6,244,958.

The claim ultimately issuing as claim 1 of the ‘983 patent was submitted by
preliminary amendment on December 17, 2001. (D.l. 237 at JA1539) An office action
was issued by the examiner on January 15, 2002, in which all ofthe claims were
rejected for obviousness-type double patenting over copending U.S. Application No.
09/134,598. (ld. at JA1551-52) The examiner stated the following:

Allowable Subject Matter

As indicated in copending App|ication 09/134,598 the features of applying a

promotional credit to a player’s account and not allowing this credit to be cashed

out are not taught by the prior art of record (see pertinent prior art below.)

Pertinent Prior Art

Yamamoto et al. [U.S. Patent No. 5,135,224], Bittner et al [U.S. Patent No.

5,290,033], Boushy ([U.S. Patent No.] 5,761,647), Tillery et al ([U.S. Patent No.]

5,197,094) and Dorrough et al ([U.S. Patent No.] 5,287,269) teach gaming

device crediting/debiting systems
(ld. at JA1553)

The applicant filed a terminal disclaimer (id. at JA1558)1 as well as copies of
foreign references which the examiner had indicated had not been reviewed (id. at

JA1561). A Notice of Allowability was issued thereafter. This notice contained an

examiner’s amendment to the abstract shortening its iength, but no other substantive

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information.18 (ld. at JA1571)
b. Anticipation by Craine
i. Disclosure

Defendants assert that claim 1 of the ‘983 patent is invalid as anticipated by U.S.
Patent No. 5,321,241 to Craine (hereinafter, “Craine”). Craine was issued June 14,
1994. lt discloses a system for tracking casino promotional funds given to a patron over
a network of gaming machines in typical casino promotional packages issued to
travelers coupons are issued to patrons which are redeemable for currency, which
could be taken home spent on food or spent in another casino. (Craine col. 1, ll. 11-
29) Craine provides a method of providing promotional packages to tour patrons that
“ensures that the promotional funds are expended in the casino” issuing them (ld., col.
1, lll 29-40)

The tracking method described in Craine is accomplished by either a key or
player card, which is “encoded so that it can only be used in the casino issuing the key
or card.” (ld., col. 1, ii. 45-54) in another embodiment a “touch-memory device” is

used in place of a key.19 (ld., col. 1 l. 67-coi. 2 l. 2) The system is described as follows

 

18The court is aware that the ‘983 patent is currently under reexamination based
on the prior art asserted in this litigation Non-final opinions and decisions issued by the
PTO are not binding on this court Additionally, even if the ‘983 patent is ultimately
rejected by the PTO and claim 1 cancelled, that decision is ultimately not a “finai” one
absent Federal Circuit review. insofar as the Federal Circuit has had no occasion to
examine the validity of the ‘983 patent to date the court is not bound by any authority
on the matter and does not substantively address the parties’ arguments regarding the
propriety and/or impropriety of the PTO’s rejections

19“[C]ards can be utilized in place of keys if desired and can be magnetically or
optica|ly programmed in a similar manner to provide a currency value in the card which
can be utilized in connection with the controller box or device 41 in the same manner as

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in general the system for tracking casino promotional funds given to casino

patrons is comprised of a plurality of gaming machines in a casino. A bank

controller is provided for the plurality of gaming machines A server is coupled to
the bank controller for receiving information from and transmitting information to
the bank controller. A plurality of memory devices is provided with each memory
device having encoded a serial number which can be assigned to the casino
patron. An account balance remote lfrom the memory device is placed in the
system for each casino patron An interface device is provided with each gaming
machine and is adapted to receive a memory device to permit operation of the
gaming machine and to supply information to the bank controller as the account
balance is debited thereby making it possible for the casino to track the
promotional funds issued by the casino and to ensure that the promotional funds
are only expended in that casino.

(ld., col. 3, i. 58-col. 4, l. 7)

The keys have microprocessors which are programmed with a serial number for
identification, and a code which “represents casino identification and permits the
system of the present invention to differentiate one casino’s keys from another casino’s
keys.” (ld., col. 6, ll. 62-68) Craine discloses a central computer, the “mainframe” (Fig.
1) or “main server” (Fig. 12). “The main server 152 keeps track of the historical data of
activity on lthe casino floor,” and “also keeps track of inactive keys that are not currently
being utilized on the casino floor,” (ld., col. 4, l. 24 & col. 8, ll. 63-66) information
relating to the activities of the patron can be “accumulated in the server and/or in the
mainframe computer 21,” alternativelyl historical data can be maintained in the “main
server 152.” (ld., col. 8, ll. 50-66)

Craine generally provides that “[u]pon the arrival of tours at the casinos the

casino patrons would be called by name and be given their assigned touch-memory

devices.” (ld., col. 13, ll. 26-28) The specification provides that “[a]ll of the activities of

 

the keys.” (Craine col. 8, ll. 18-23)
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the casino patron utilizing the key are recorded in the bank controller 16 which supplies
the information to the server 19, This information can be accumulated in the server
and/or in the mainframe computer 21 provided in the computer and at periodic times
the information can be printed out on the printer 33 in an appropriate format.” (ld., col.
8, ll. 50-56) A patron may request that more funds be placed “in his or her account
associated with his or her touch-memory device” by making such a request (and
deposit) at the cashier cage (ld., col. 14, ll. 12-20) “[P]ersonal information on the
patron is only ascertained if funds are expended that are greater than those which have
been given to the casino patron in connection with the promotion." (ld., col. 14, ll. 20-
23) The goal is to keep the amount of information conveyed between the slot machine
and the slot bank server “to a minimum thereby increasing the speed ofthe
transaction.” (ld., col. 14, ll. 23-25 & 61-65)

if a touch-memory device is lost or stolen, the casino can issue a new device to
the patron by “deleting the assignment of the earlier serial number to that patron and
assigning a new serial number to that casino patron.” (ld., col. 14, ll. 35-49) The
system described in Craine allows the casino to “readily track the expenditure of []
promotional funds and at the same time ensure that the promotional funds are
expended in the casino[.]” (ld., col. 15, ll. 42-54)

ii. “Player account”

The parties dispute for purposes of anticipation, whether Craine discloses a

“player account” as claimed in the ‘983 patent According to defendants Craine

discloses a “player account” insofar as it provides that “[a]n account balance remote

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from the memory device is placed in the system for each casino patron.” (D.l. 194 at
17, citing Craine coll 3, ll. 64-68) in addition, defendants point out that in claim 16,
Craine discloses “opening an account having an account identification at the central
data storage for the casino patron assigning a serial number of a memory device to the
account of the casino patron.” (D.l. 244 at 4, citing Craine col. 17, ll. 17-21)

According to plaintiff, “those of ordinary skill in the art understand that a player
account is one in which data is continually associated with one particular player and
one particular player’s club card.” (/d. at 13) in support plaintiff cites the deposition
transcript of defendants’ software engineer, who testified that in his understanding, a
“player account” is “an account that is set up by the casino where one or more data
elements are continuously associated with one particular player and one particular card
so that the card is used to track player play and give comps and possibly other
promotional issues” (/d., citing JA4700 at 63) Plaintiff argues that the account
described in Craine is not a “player account” because Craine is “unconcerned with the
identity of the patrons” unless a patron requests additional funds be added to the
external device (D.l. 214 at 12-13)

Defendants do not specifically dispute that Craine discloses a temporary account
used to track promotional credits which account is later recycled,20 but argues that
claim 1 of the ‘983 patent does not require a “particular process for setting up the player

account or a “permanent association between a particular player and a particular

 

20(See Craine col. 2, ll 6 (describing the touch-memory device as “reusable”);
col. 7, ll. 28-36 (describing a process of returning keys to the casino); col. 8, lll 43-49
(same))

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account” and, therefore a “player account” is generally disclosed by Craine

The parties did not seek the court’s construction of “player account” (D.l. 167);
notwithstanding, because claim construction is a matter of law, the colth must ultimately
make findings sufficient to facilitate disposition of the issue presented to it.

The ‘983 patent generally provides that the player “account file” contains “the
player’s name the amount of credit issued and other information to be described.”
(‘983 patent col. 36, ll. 63-65) it is unclear from the specification what “other
information” may be maintained, and plaintiff does not identify a specific portion of the
‘983 specification shedding light on the matter. (D.l. 214 at 13) No other intrinsic (or
extrinsic) evidence is provided by plaintiff. There is therefore no indication on this
record that the player account described in the ‘983 patent contains different
information, or is othen/vise distinguishable from that disclosed in Craine Put another
way, the court does not find that the ‘983 specification supports limiting “player account”
in the manner espoused by plaintiff, that is to an account containing a particular type or
quantum of player information and which can not later be recycled or reassigned to
another player.

iii. “Accessible by the host computer"

According to Mr. Crevelt defendants’ expert the player account disclosed in
Craine is accessible by the host computer because a “player`s account information is
accumulated in a server or mainframe either of which can serve as ‘the host computer‘
in the ‘983 patent.” (D.l. 196 at 11 50) Additionally, claim 16 of Craine discloses
“transmitting the serial number of the memory device to the central data storage and

debiting the account ofthe casino patron at the central data storage as the gaming

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machine is utilized by the casino patron.” (D.l. 194 at 19; citing Craine col. 17, ll. 27-30)
Defendants also point out that in a response to an Office Action dated June 28, 1993,
Craine remarked that “in applicant’s method, the player tracking is done in the central
computer which only needs to receive the serial number from the memory device.” (D.l.
196, ex. 4 at p.5)

Aside from its arguments regarding whether a “player account” is disclosed in the
first instance plaintiff contests the “accessibility” portion of the limitation only on the
ground that in its characterization “the Craine system tracks when and at which
machines the patron is using the promotional credits provided on the external device”
and “traces the path this tracking information traverses from the slot machine to the
main server.” (D.l. 214 at 12, citing Craine col. 13, ll. 58-63) Plaintiff does not explain,
nor does it offer any expert testimony regarding: (1) how the mainframe computer (21)
or main server (152), disclosed as storing data regarding patron play,21 do not
necessarily have “access” to a player account; or (2) how, in its view, Craine’s system
can “trace the path” of patron play without “accessing" the player account (/d.) Plaintiff
has failed to establish that a genuine issue of material fact exists on this point

iv. Location of data

The parties’ remaining arguments hinge on whether promotional credits are
stored on the memory device or key as disclosed by Craine

According to defendants and Mr. Crevelt Craine discloses that the casino

applies a promotional credit to the player’s account Under their interpretation Craine

 

21(Craine col. 4, l. 24; col. 8, ll. 50-66)
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discloses “applying a promotional credit to the player’s account permitting the player
access to the account” and “transferring promotional credits in the account to the
gaming device” as required by claim 1 of the ‘983 patent because a player’s wagering
of promotional credits at the gaming device (“debiting” of his or her player account)
requires transfer of credits directly to the gaming machine (D.l. 194 at 19-20; D.l. 244
at 5-8; D.l. 196 at 1111 53, 55)

Defendants point to several portions of Craine in support of their interpretation
for example: (1) “[a]n interface device . . . permit[s] debiting of the account balance of
the casino patron” (abstract); (2) “[a]n account balance remote from the memory
device is placed in the system for each casino patron” (Craine col. 3, ll. 66-68)
(emphasis added); (3) “[a]n interface device is provided . . . to supply information to the
bank controller as the account balance is debited thereby making it possible for the
casino to track the promotional funds by the casino” (/'d., col. 3, l. 68-col. 4, l. 7); (4)
“crediting a currency value representing a promotional fund of the casino to the
account of the casino patron” (ciaim 16) (emphasis added); and (4) “debiting the
account of the casino patron at the central data storage as the gaming machine is
utilized by the casino patron” (ciaim 16) (emphasis added).

Plaintiff presents a different view of Craine According to plaintiff’s expert Mr.

Spencer,22 Craine discloses that “[c]redits are transferred from the memory device to

 

22Notably, plaintiff did not cite l\/lr. Spencer’s report in support of its opposition to
defendants’ motion on the “applying a promotional credit to the player’s account” or
“permitting the player to access the account” limitations of the ‘983 patent; plaintiff first
cited Mr. Spencer’s report in the context ofdiscussing “transferring promotional credit in
the account to the gaming device.” (D.l. 214 at 14-17) As the parties’ arguments
demonstrate Craine (and the ‘983 patent) are not so easily understandable such that

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the gaming machine - not from the player account to the gaming device[.]" (D.l. 185 at
11 296) in support for his opinion that promotional credits are stored on the memory key
or card in Craine and not in a remote player’s account Spencer relies on several
portions of the Craine specification including: (1) the “controller box or device 41
makes the slot machine believe . . . that a physical coin has been dropped into the
machine when in fact only a debit has been removed from the key or card as
hereinafter described" (coi. 6, ii. 13-21; see also col. 4, ll. 59-68) (emphasis added); (2)
“[t]he microprocessor 121 in each key] also has the capability of being encoded with a
specific amount of money which can be varied in accordance with the desires of the
casino issuing the key” (coi. 7, ll. 3-6); (3) “it should be appreciated that cards can be
utilized in place of keys if desired and can be magnetically or optically programmed in a
similar manner to provide a currency value in the card which can be utilized in
connection with the controller box or device 41 in the manner as the keys" (coi. 8, ii. 18-
24) (emphasis added); and (4) “[w]ithin the control set by the casino, the casino patron
can then use the credit amount on the key or card to operate the slot machines and to
attempt to achieve winnings from those slot machines” (coi. 8, ll. 35-39) (emphasis

added). (D.l. 185 at 11 300)

 

expert testimony would not be required to demonstrate anticipation See Ko/'to Mfg.
Co., Ltd. v. Turn-Key-Tech, LLC, 381 F.3d 1142, 1152 n.4 (Fed. Cir. 2004); see also
Schumer v. Lab. Computer Sys., /nc., 308 F.3d 1304, 1315-16 (Fed. Cir. 2002)
(“Typicaiiy, testimony concerning anticipation must be testimony from one skilled in the
art[.]”) On the papers the court was prepared to find that plaintiff failed to raise a
genuine issue of material fact with respect to the former limitations Because Mr.
Spencer`s opinion supports plaintiff’s position however, the court will allow the jury to
hear argument on all of the limitations

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The court does not substitute itself for the jury and make credibility
determinations regarding the experts’ conflicting views ofthe disclosure of Craine.
Summary judgment of anticipation is inappropriate with respect to whether Craine

discloses “applying a promotional credit to the player’s account permitting the player
access to the account” and “transferring promotional credits in the account to the
gaming device.”

v. “Preventing the promotional credit from being
cashed out by the player”

Defendants assert that Craine discloses “preventing the promotional credit from
being cashed out by the player” in several portions of its specification (1) an “object of
the invention” is to “ensure that the promotional funds are expended in the casino
issuing the promotional funds" (coi. 1, ll. 36-40); (2) an interface device is provided for
this purpose (coi. 3, l. 68-col. 4, l. 7); and (3) claim 16 discloses “[a] method for tracking
casino promotional funds given to a casino patron to require that such promotional
funds given to a casino patron be utilized on gaming machines ofthe casino” (coi. 17, ll.
9-12). Plaintiff does not dispute that Craine seeks to prevent promotional credit from
being cashed out by the player, but argues that it discloses no specific mechanism for
doing so. (D.l. 214 at 18) A prior art reference must be enabled to be anticipatory.
See, e.g., ln re Donohue, 766 F.2d at 533.

At his deposition Mr. Crevelt did not identify a particular disclosure in Craine to
this effect but also noted that there is no indication in Craine of a player being able to
cash out the promotional credits (D.l. 237 at JA2937, 342-44) As defendants point out

in their reply papers Craine discloses that it is an object of the invention to provide a

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system “in which the key or card is encoded so that it only can be utilized in the casino
issuing the key or card” (coi. 1, ll. 53-54) and provides that the “interface device” makes
it possible to ensure that promotional funds are only expended in the casino issuing the
device (coi. 3, ll. 68-col. 4, l. 7). The dispositive issue therefore is whether these
disclosures are enabling, or sufficient to place the claimed invention in the possession
of the public.

Neither party points to expert testimony on this subject and the briefing provided
on the limitation at issue is limited. As discussed previously, the court does not grant
defendants summary judgment that claim 1 of the ‘983 patent is anticipated because of
disputes of fact surrounding several limitations With respect to the “preventing the
promotional credit from being cashed out by the player” limitation the court additionally
notes that defendants have not responded to plaintist enablement argument with any
evidence Summary judgment is denied on this additional ground. Because plaintiff
has not cross-moved for summary judgment of no anticipation based on Craine the
court need not further evaluate plaintiffs argument in this regard.

c. Obviousness in view of Craine

Defendants argue that if any elements of claim 1 of the ‘983 patent are not found
to be present in Craine they nonetheless would have been obvious to one of ordinary
skill in the art (D.l. 194 at 21-23)

in appropriate circumstances a single prior art reference can render a claim

obvious However, there must be a showing of a suggestion or motivation to

modify the teachings ofthat reference to the claimed invention in order to
support the obviousness conclusion This suggestion or motivation may be

derived from the prior art reference itself, . . ., from the knowledge of one of
ordinary skill in the art or from the nature of the problem to be solved.

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S/B/A Neurosciences, /nc. v. Cadus Pharmaceutica/ Corp., 225 F.3d 1349, 1356 (Fed.
Cir. 2000) (internal citations omitted). in support of their argument defendants rely on
the opinion of Mr. Crevelt Mr. Crevelt’s declaration however, contains little more than
conclusory allegations of obviousness and fails to identify any supporting evidence for
his opinions regarding the knowledge of one skilled in the art (D.l. 196 at 1111 51, 52,
54,56)

Mr. Crevelt offers only one short paragraph of analysis regarding the scope or
content of the art at all, and this concerns the Caesars Request System, a system used
at the Caesars Paiace Casino in Las Vegas in 2001 or thereabouts. (D.l. 196 at 11 59)
According to defendants the Caesars Request System is relevant to the knowledge of
ordinary skill in the art as it relates to the ‘983 patent; specifically, that systems
employing non-cashable credits existed and were “spurred by market forces not
scientific or technological innovation.”23 (D.l. 194 at 24-25; see also D.l. 196 at 11 59)

Defendants’ argument that the Caesars Request System can be used to
demonstrate the differences between the prior art and the claims pursuant to Graham
v. John Deere Co., 383 U.S. at 17-18, is fatally flawed insofar as defendants admit the
Caesars Request system is not prior art (D.l. 194 at 13 & 24); see 35 U.S.C. § 103(a)
(“A patent may not be obtained though the invention is not identically disclosed or
described as set forth in section 102 ofthis title ifthe differences between the subject
matter sought to be patented and the prior art are such that the subject matter as a

whole would have been obvious at the time the invention was made to a person having

 

23To be clear, defendants do not specifically assert that a combination of Craine
and the Caesars Request System renders claim 1 of the ‘983 patent obvious

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ordinary skill in the art to which said subject matter pertains.”) (emphasis added).24

Notwithstanding the defects in defendants’ case the court notes that plaintiff has
adduced evidence which demonstrates that genuine issues of fact remain as to
obviousness Mr. Spencer opines that Craine teaches away from the ‘983 patent
insofar as it uses a memory device extraneous to the system as a means to store and
debit the promotional credits (D.l. 185 at 1111 298, 302) Mr. Schwartz, plaintiff’s expert
opines that secondary considerations of nonobviousness exist in this case: (1)
defendants copied the invention (D.l. 215 at 11 98); and (2) the claimed inventions
solved a long-felt need to create a bonusing system that could be limited to play on the
casino floor, compared to previous methods such as free rolls of quarters (id. at 1111 112-
13). Summary judgment of obviousness is inappropriate

d. Conclusion

For the foregoing reasons defendants have not demonstrated the lack of a
genuine issue of material fact with respect to anticipation by Craine. Defendants have
also not demonstrated that summaryjudgment of obviousness based on Craine is
appropriate Defendants’ motion therefore is denied. There is no cross motion by
plaintiff regarding the validity of the ‘983 patent

3. Cross-motions regarding the validity of the ‘812 and ‘885 patents

a. The asserted prior art references

 

24Compare OddzOn Products, /nc. v. Just Toys, /nc., 122 F.3d 1396, 1403-04
(Fed. Cir. 1997) (holding that § 102(f) non-public subject matter can be used to reject a
claim of invention by another in possession of the § 102(f) subject matter under a
combination of § 102(f) and § 103). Plaintiff claims that defendants copied the “Acres
Lucky Coin” (D.l. 179 at 6) and “XTRA Credit” (D.l. 214 at 26) products for which it
acquired rights there is no claim that defendants copied the Caesars Request System

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U.S. Patent No. 5,580,309 to Piechowiak et ai. (“Piechowiak”), entitled “Linked
gaming machines having a common feature controller," was filed on February 22, 1994
and issued on December 3, 1996.25 Piechowiak describes a networked gaming system
in which one or more “features,” such as a “bonus award,” is provided to “ali of the
gaming machines linked to the system” (Piechowiak col. 1, ll. 47-57) Alternatively,
“only selected ones of the gaming machines are temporarily provided with a certain
feature where the feature is enabled based on the occurrence of some event.” (ld.,
col. 1, ll. 67) “[A] criterion for enabling the feature may be a specified number of
occurrences of a predetermined combination of indicia displayed by the gaming
machines” or a “predetermined lapse of time between periods during which the feature
has been disabled.” (ld., col. 3, ll. 6-10; col. 4, ll. 2-5) A feature controller periodically
polls each ofthe networked gaming machines comparing the results of each machine
to predetermined criteria stored on the system (ld., col. 3, ll. 1-5) ifthe feature-
enabling criteria have been met “the feature is made available to all linked gaming
machines”; a win is thereafter awarded based on the enabled feature “to the first linked
gaming machine to generate a game result which matches the feature award criteria.”
(ld., col. 3, ll. 22-41)

U.S. Patent No. 4,652,998 to Koza et al. (“Koza”), entitled “Video gaming system
with pool prize structures,” was filed on January 4, 1984 and issued on l\/iarch 24, 1987.
Kona provides an arcade game network that awards prize awards “based upon a

random shuffling of a set of prize awards among a predetermined pool of plays for each

 

25The parties do not dispute that each of the asserted references predate the
inventions at issue and constitute prior art.

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remote game terminal.” (Abstract) “Video amusement game lottery terminals” are
connected to a central computer (a “central controller”). (Kona, col. 2, ii. 16-29 & Fig. 1)
Multipie network components exist between the central computer and the arcade
device (ld., Fig. 4) Among these components is a “terminal controller processor”
which “insure[s] accurate prize payouts guaranteeing a predetermined total prize value
within a preseiected group of plays referred to as a ‘pool’.” (ld., col. 11, ll. 26-30) The
pool is divided into a thousand mini-pools of a thousand plays each; this "mini-pool” is
used to implement a low-end prize structure (ld., col. 11, ll. 30-58)

U.S. Patent No. 5,280,909 to Tracy (“Tracy"), entitled “Gaming system with
progressive jackpot,” was filed February 6, 1992 and issued January 25, 1994, Tracy
describes a progressive gaming system Multipie gaming machines are linked together
via a “programmed controller” that “receives from the machines [a] unit bet and
machine identification information and supplies to the players . . . information as to the
common jackpot.” (Tracy, col. 1, ll. 45-58) The currentjackpot value updated by the
corrtroiier, is compared to a “jackpot-win value”; when the currentjackpot reaches this
threshold, the controller determines that a jackpot has been won by the winning
machine and payment is made to the player. (ld., col. 2, ll. 13-32) A modification is
described whereby the controller conveys “payout and control signal information for
enabling the gaming machine to make the payout.” (ld., col. 6, ll. 62-69) “With this
modification each gaming machine is itself adapted to recognize and respond to the
payout and control signal information from the controller and to make the required

payout.” (ld., col. 7, ll. 1-4) “[T]he payout need not be based on a fixed or randomly

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generated jackpot-win value instead1 the payout can be based on other predetermined
criteria which the gaming machine can assess and follow in making a payout in
response to the control signal in the signaling information These criteria can include
for example conditions at the gaming machine itself.” (ld., col. 7, ll. 10-17)

Piechowiak, Koza, and Tracy were each before the examiner during prosecution
of the ‘882 and ‘817 patents from which the ‘885 and ‘812 patents were respectively
reissued, and a second time during reissue proceedings (D.l. 181 at 9; D.l. 220 at 14)

PCT Application No. WO 80/02515 to Krause et al. (“Krause"), entitled
“Computerized gaming system,” was published on November 27, 1980. (JA5140)
Krause describes a plurality of gaming devices connected to a remote central computer.
The central computer “continuousiy communicates” with the gaming devices (Krause
col. 21 ll. 13-19) The gaming device allows a player to select random indicia, such as a
number between 0 and 9, to be matched with a randomly-generated number (or other
indicia such as a symbol). if a match is made a prize is paid out; if the prize amount
exceeds a predetermined amount the prize is awarded by issuing a ticket which must
be redeemed at another location (ld., col. 2, i. 23-col. 3, l. 26) in one embodiment of
Krause “the prize structure of the game may be changed randomly or according to the
time of day.” (ld., col. 19, ll. 8-11) This change may be controlled by an internal clock
in the game machine terminal or by signals received from the central computer. (Col.
19, ll. 18-24) in either case the central computer keeps track of “which machines are
under the control of which prize structure." (ld.)

U.S. Patent No. 5,046,736 to Bridgeman, et al. (“Bridgeman”), entitled “imitative-

opponent gambling devices” was filed on October 11, 1988 and issued September 10,

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1991. Bridgeman describes an electronically-simulated poker game or video poker.
“Several video screens controlled by a central processor can be hooked together1
allowing several lead players to play the same game at the same time” (Bridgeman,
col. 2, ll. 15-17; Fig. 1C; col. 8, l. 62-col. 9 l. 2) Several different payoffs are provided,
including a “winner bonus loser bonus fold bonus and jackpot bonus” (ld., col. 2, ll.
11-14; Fig. 15) These bonuses generally correspond to provided bonus tables (ld.;
Fig. 15)
b. Plaintiff’s motion of no anticipation by Piechowiak26
i. ‘885 Patent

Plaintiff moves for summary judgment of no anticipation by Piechowiak. (D.l.
181 at 11) With respect to the ‘885 patent the parties dispute whether Piechowiak
discloses “preselecting less than all of the gaming devices interconnected by the host
computer responsive to a user-effected action [or host computer action]” as
required by the ‘885 patent According to defendants Piechowiak discloses this
limitation by generally stating that in one embodiment “only selected ones of the
gaming machines are temporarily provided with a certain feature” award. (D.l. 220 at
17, citing Piechowiak, col. 1, ll. 64-67) At his deposition Crevelt admitted that
Piechowiak does not explicitly disclose a user interface which could be used to
“preselect” participating devices (JA2840 at 202:10-17)

(a) Law of anticipation based upon inherency

A prior art reference may anticipate without explicitly disclosing a feature ofthe

 

26There is no cross-motion by defendants

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claimed invention if that missing characteristic is inherently present in the single
anticipating reference See Continental Can Co. USA v. Monsanto Co., 948 F.2d 1264,
1268 (Fed. Cir. 1991). The Federal Circuit has explained that an inherent limitation is
one that is “necessarily present” and not one that may be established by “probabilities
or possibilities.” See id. at 1268-69. That is, “‘[t]he mere fact that a certain thing may
result from a given set of circumstances is not sufficient.’" ld. at 1269 (emphasis in
original) (citations omitted).
(b) Defendants’ arguments

Relying on Mr. Crevelt defendants argue that the user-operated input device is
inherent in Piechowiak. (D.l. 220 at 17, 34-35) At his deposition Mr. Crevelt stated
that Piechowiak’s disclosure that a feature is provided “only to selected ones of the

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gaming machines implies that there is some [user] input device or method to make
such a selection"; “[l]t would be inherent in this patent that you would have some
method of making that user interface of some sort to make that selection . . . the input
device would be inherent to the system.” (JA2840 at 201 :17-202:14) Defendants point
to no explanation by Mr. Crevelt of how Piechowiak “necessarily" discloses that “user-
effected action” or “host computer action” can take place or other evidence in this
regard. in contrast plaintiff points out that Piechowiak discloses that the feature-
enabling criteria of its system are stored in ROi\/i (read-only memory), which Mr. Crevelt
himself characterized in his deposition as “unalterable memory.” (D.l. 181 at 10;

JA2843 at 213;20-25; Piechowiak, col. 2. ll. 40-42 (“The operation of feature controller

110 is controlled by a program stored on ROi\/i 126,” described as hard-wired by

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communication lines)) According to Mr. Spencer, Piechowiak teaches away from user
configurability by disclosing a system where the “feature” criteria are stored in
unalterable memory. (D.l. 185 at 11 68) Defendants opted not to file a reply brief
addressing these arguments

Even should a jury credit Mr. Crevelt’s testimony and discredit Mr. Spencer’s
interpretation of Piechowiak, defendants point to no evidence that Piechowiak
“necessarily” discloses a user input device (or other means) to effectuate a selection of
only some of the networked gaming machines Defendants did not dispute that the
Piechowiak “feature” is stored in ROM, an unalterable memory component Mr. Crevelt
has done nothing more than state that Piechowiak inherently anticipates more than this
conclusion is required for a reasonable jury to find in defendants’ favor.

(c) Lack of enabling disclosure

As noted previously, to serve as an anticipating reference Piechowiak must
enable that which it is asserted to anticipate See Amgen, /nc., 314 F.3d at 1354.
Plaintiff asserts that “Piechowiak’s lack of disclosure of any method for providing a
feature to only certain gaming devices is fatal to [defendants’] assertion of invalidity[.]”
(D.l. 240 at 11) Mr. Crevelt admitted at his deposition (in July 2008) that Piechowiak
did not specifically list a selection methodology. (JA2841 at 206:15-17) in November
2008, lVlr. Crevelt submitted a supplemental declaration in which he stated the
following:

Piechowiak ‘309’s system includes “suitable decoders within the gaming

machines 101-108 so that the gaming machines 101-108 can be addressed

using digital codes." ([Piechowiak] 2120-22) The central server may include “an

address/data bus” for communicating with specific gaming devices via the
specific suitable decoders ([Piechowiak] 2:13-18)

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(D.l. 223, ex. 6) This is the sole evidence pointed to by defendants in response to
piaintiff’s enablement argument (D.l. 220 at 35)

in view of Mr. Crevelt’s admission that Piechowiak does not disclose a
preseiection method and, therefore does not teach one of ordinary skill in the art how
to carry out the “preselecting" limitation Mr. Crevelt’s subsequent statement falls short
of demonstrating a genuine issue of material fact with respect to enablement The cited
Piechowiak disclosure is extremely general:

[Multiplexer/de-multiplexer citcuit] 120 may be replaced with an address/data bus

and suitable decoders within the gaming machines 101-108 so that the gaming

machines 101-108 can be addressed using digital codesl
(Piechowiak, col. 2, ii. 19-22) Mr. Crevelt does not state that (let alone explain how) this
disclosure enables one of ordinary skill in the art to “preselect[] less than all of the
gaming devices interconnected by the host computer responsive to a user-effected
action [or host computer action].” Nor does he indicate that this disclosure would
sufficiently enable one of ordinary skill in the art to do so without undue
experimentation This is not the case where an expert has conclusorily provided a
response to plaintist anticipation defense; defendants point to no opinion at all.

(d) Conc|usion

in view of the fact that two separate patent examiners found that Piechowiak did
not anticipate the ‘885 patent a fact that a jury would be entitled to consider, no
reasonable jury could find that defendants meet the “especially difficult” clear and

convincing burden to demonstrate that Piechowiak disclosed the “preselecting less than

all of the gaming devices interconnected by the host computer responsive to a user-

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effected action [or host computer action]” limitation See PharmaStem Therapeut/`cs,
/nc. v. \/iaCe//, /nc., 491 F.3d 1342, 1371 (Fed. Cir. 2007) (citing Hewlett-Packard Co.,
909 F.2d at 467). Summary judgment of no anticipation by Piechowiak is granted in
favor of plaintiff with respect to the ‘885 patent.27
ii. ‘812 patent

Piechowiak is also asserted as an anticipatory reference against claims 21 and
44 of the ‘812 patent which require “storing the message in a memory connected to a
controller associated with only one of the gaming devices." in support of its argument
that Piechowiak does not disclose this limitation plaintiff cites the following portion of
Mr. Crevelt’s testimony regarding Piechowiak:

Q. is the memory of the gaming machine connected to a controller associated

with only one gaming device?

A. That memory in the gaming machine would be in the gaming device and it’s

connected to the feature controller.

Q. And is the feature controller associated with only one gaming device?

A. Only if you had a network of one machine

Q. Does Piechowiak disclose a network of one machine?

A. lt does - it generally discloses a network of multiple machines

Q. For purposes of this litigation are we interested in networks of one gaming

machine?

[Objection]

A. Generally not.
(JA2931 at 323:24-324:20) Mr. Spencer opines that the memory of the gaming device
itself does not satisfy this limitation because “according to the language of claims 21

and 44, the controller must receive data indicative of gaming device activity from the

gaming device and issue a pay command to the gaming device.” (D,l. 185 at 11 283)

 

27The court need not address the parties’ arguments regarding the other
contested limitations for example “issuing a command or a message”

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Therefore the memory must be independent of the device itself. (ld.)

Defendants point to the following disclosure of Piechowiak in response:

Gaming Nlachines 101-108 may operate independently of each other during this

normal operation mode and award wins based on a normal payout criteria stored

in either RO|V| 126 of feature controller 110 or in a memory (i.e., an award table)

contained within each of the linked gaming machines
(D.l. 220 at 27 & 47, citing Piechowiak, col. 2, ll. 53-58) The above-referenced passage
indicates that there is a memory contained in each machine that can contain an award
table and be accessed when a win occurs lt does not shed light however, on whether
the feature controller can store a message in the memory of one machine in other
words certain information can clearly flow “out” of this independent memory; it is not
clear from this passage that information can flow “in” to a single machine’s memory.
Defendants point to no expert opinion interpreting this passage (ld.)

Defendants also point to U.S. Patent No. 4,837,728 to Barrie et al. (“Barrie"), and
assert that Barrie “discloses a separate controller associated with each individual game
in the linked system and ‘coupled for two way communication with’ the central
controller." (D.l. 220 at 27) Barrie is generally incorporated by reference by
Piechowiak. The “Background of the invention” portion of the Piechowiak specification
comprises the following passage:

Progressive jackpot gaming systems comprised of one or more interconnected

gaming machines which award a progressive jackpot award, are well known . .

U.S. Pat. No. 4,837,728 to Barrie et al., incorporated herein by reference

describes one such progressive gaming system comprised of linked slot

machines The circuitry and software used to fabricate and operate these
conventional linked gaming machines are well known to those skilled in the art

(Piechowiak, col. 1, ll. 30-43) The subject matter sought to be incorporated into

Piechowiak from Barrie is the disclosure of a central progressive controller1 as follows

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Each game controller is coupled for two-way communication with a rapidly
incrementing progressive controller. The progressive controller receives data
from each game controller indicating coin receipt and game wins The
progressive controller assigns a portion of each coin to increment progressive
bonus meters in accordance with a payout schedule such as described above
The progressive controller then fon/vards the meter totals to each game controller
to increment the meter amounts displayed by the game controllers
When win information is received by the progressive controller, the game
controllers are reset . . . . When game play is complete a win is paid or loss is
generated and the meters are thereafter reset by the progressive controller to the
current progressive bonus value
(D.l. 220 at 27, citing Barrie col. 2, ll. 38-58) According to defendants “there is no
dispute that controllers in the prior art stored criteria for bonus awards to be paid." (ld.)
Again, no expert opinion is cited in support Plaintiff does not specifically address
anticipation in its reply papers (D.l. 240)
lt is ultimately defendants’ burden to prove anticipation at trial by clear and
convincing evidence Having reviewed the present record, the court finds that
defendants have not adduced evidence upon which any reasonable jury could find that
Piechowiak anticipates claims 21 or 44 of the ‘812 patent more specifically, the “storing
the message in a memory connected to a controller associated with only one of the
gaming devices” limitation
There is no evidence that Piechowiak discloses to one of ordinary skill in the art
that a command or message including criteria to cause a bonus to be paid via one
gaming device is “stored” in memory connected to a “controller” that is associated with
only one machine As defined by the court in its order of the same date a “command”

or “message” results in the reconfiguration of the device such that the device pays out

extra money it would not have paid in its regular configuration Piechowiak discloses

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only that an independently-operating machine can award a win based on “normal
payout criteria” stored in its own memory. There is no indication that a reconfiguration
command or message is stored in the machine at ali, let alone in a memory “connected
to a controller" associated with only one device; defendants point to no testimony in
support of their assertion to the contrary.

The quoted portion of Barrie even if incorporated into Piechowiak,28 does not
provide these details Barrie provides that two-way communication occurs between the
progressive controller and the gaming controller, but the information received is data
“indicating coin receipt and game wins” and the information forwarded is “meter totals . .

. to increment the meter amounts displayed by the game controllers” Again, there is no

 

28incorporation by reference is a legal issue to be determined by the court See
Advanced Display Sys. /nc. v. Kent State Univ., 212 F.3d 1272, 1282 (Fed. Cir. 2000)
incorporation by reference requires a statement “cleariy identifying the subject matter
which is incorporated and where it is to be found.” /n re Seversky, 474 F.2d 671, 674
(C.C.P.A. 1973). “[A] mere reference to another application or patent or publication is
not an incorporation of anything contained therein . . /d. Put another way, the host
document “must cite the material in a manner that makes clear that it is effectively part
of the host document as if it were explicitly contained therein.” Advanced Display Sys.,
212 F.2d at 1282. lt must therefore both (1) “identify with detailed particularity what
specific material it incorporates”; and (2) “cleariy indicate where that material is found in
the various documents” /d. (citations omitted).

The parties have not focused on this issue and, therefore have not put forth
evidence regarding what one reasonably skilled in the art would find incorporated by
reference by the language of Piechowiak. /d. On its face Piechowiak incorporates
Barris as a “background” reference describing networked gaming devices lt also
imports Barrie’s disclosure of the “circuitry and software” used to operate its network.
Piechowiak does not specifically mention the progressive controller computer program
described in Barrie. Because the progressive controller appears to be “software,” there
is a colorable argument for incorporation by reference of this feature generally.
However, Piechowiak does not mention two-way communication with such a
progressive controller - such communication is neither “circuitry” nor “software.” in
short Piechowiak does not “identify with detailed particularity" the specific material in
Barrie referenced by defendants nor does it “clearly indicate where that material is
found in [Barrie].” /d. (emphasis added)

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indication that a reconfiguration command or message is stored in the machine in a
memory “connected to a controller” associated with only one device; defendants proffer
only attorney argument to the contrary.

The court concludes that defendants did not meet their burden to demonstrate
the existence of a genuine issue of material fact on this issue As with the ‘885 patent
the court’s conclusion is bolstered by the fact that a jury would be entitled to consider
the fact that two separate examiners found that Piechowiak does not anticipate the ‘812
patent claims See PharmaStem Therapeut/'cs, /nc., 491 F.3d at 1371 (citation
omitted). For the aforementioned reasons the court grants plaintiff’s motion of
summary judgment of no anticipation of claims 21 and 44 of the ‘812 patent by
Piechowiak.

c. Cross-motions on obviousness
i. Ciaims 1 and 22 of the ‘885 patent
(a) “Preseiecting” limitation

Mr. Crevelt opines that claims 1 and 22 of the ‘885 patent are rendered obvious
by Koza, in view of Piechowiak, Bridgeman Krause and Tracy. (D.l. 223 at 11 26) The
primary disagreement between the parties is whether the prior art teaches (or suggests)
the “preseiecting less than all of the gaming devices interconnected by the host
computer responsive to a user-effected action [or host computer action]” limitation of

the ‘885 patent29 Defendants highlight the following selection of Koza as providing this

 

29in determining obviousness the inquiry is not whether each limitation existed in
the prior art but whether the prior art made obvious the claimed invention as a wholel
See Harfness /nt’/, /nc. v. Simp//'matic Eng’g Co., 819 F.2d 1100, 1108 (Fed. Cir. 1987).
The court evaluates therefore whether a genuine issue of fact exists with respect to

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disclosure

The sophisticated centrally controlled lottery system can draw a random

sampling of players who can be asked to participate in an electronic marketing

survey. in the electronic marketing survey a free game play is offered on the

remote terminal if the player will answer a few, simple market survey questions
(Koza, col. 22, ll. 62-68) Defendants point to no expert testimony (or other evidence) in
support of their interpretation in their papers (D.l. 220 at 19) On its face this portion of
Koza does not clearly describe “a central host [computer] that is capable of making
certain features available to a select group of machines.” lt is unclear whether the
“random sampling” of players for a survey (resulting in a “free play”) is comparable to a
“user-effected” or “host computer" action causing the preseiection of certain gaming
machines to participate in a promotion i\/lr. Crevelt conclusorily states in his declaration
that Koza “discioses a plurality of gaming machines wherein at least some of the
gaming machines provide for bonusing games/pools that are independent of bonusing
games/pools offered on other gaming machines of the gaming system.” (D.l. 223 at 1111
30, 40 & ex. 5 at 3, 9) No rationale for his opinion that the “preselecting” limitation is
taught by Koza is provided. (ld.)

On this record, and in view of defendants’ high burden to show obviousness by
clear and convincing evidence the court finds that defendants have not demonstrated a
genuine issue of material fact with respect to whether Koza demonstrates the
“preseiecting” limitation

The court finds however, that an issue of fact exists with respect to whether

 

whether any asserted reference discloses the “preselecting” limitation and, if not
whether a question of fact exists with respect to whether this limitation was suggested
by the prior art.

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Piechowiak suggests the “preselecting” limitation As discussed previously, Piechowiak
does not expressly disclose the “preselecting” limitation Mr. Crevelt opines that
Piechowiak suggests a user input device when it describes the selection of a subset of
gaming machines (D.l. 220 at 18, citing JA2840 at 201 :17-202:14) Plaintiff’s expert
Mr. Spencer, opines that Piechowiak teaches away from user configurability by
disclosing a system where the “feature” criteria are stored in unalterable memory (or
ROi\/i). (D.l. 185 at 11 68) On this record, there are conflicting expert opinions regarding
the disclosure of Piechowiak1 evidencing a triable issue

Finally, defendants argue that even if no reference discloses the “preselecting”
limitation that limitation was obvious to a person of ordinary skill in the art30
Defendants emphasize that John Acres, a named inventor on the ‘885 patent testified
that the design ofthe patented system, including the “preselected” element was driven
by the design consideration of eliminating wires from the casino floor. (D.l. 220 at 20-
23, citing JA5040-43 at 91:22-94:21) Acres’ motivation is not determinative on the
issue of obviousness The test for obviousness is not whether it would have been
obvious to try to make the invention Further, “[t]he decision of obviousness vel non is
made not from the viewpoint of the inventor, but from the viewpoint of a person of
ordinary skill in the field of the invention.” Arkie Lures, /nc. v. Gene Larew Tack/e, /nc.,
119 F.3d 953, 956 (Fed. Cir. 1997) (citations omitted). in short defendants point to no

expert testimony regarding the viewpoint of one of ordinary skill in the art and

 

30“There is no absolute requirement that each claim limitation be disclosed in a
prior art reference,” however, “it is the rare invention that is not a combination of prior
art elements.” Abbott Laboratories v. Sandoz, /nc., 544 F.3d 1341, 1377-78 (Fed. Cir.
2008) (citations omitted).

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cannot prove obviousness under this “general obvious” theory.

(b) Motivation to combine

in view of the fact that defendants can potentially demonstrate that the

“preselecting” limitation is suggested by Piechowiak, the next inquiry is whether
defendants have iterated a motivation to combine Piechowiak with the other asserted
prior art references31 Mr. Crevelt summarily opines that “[i]n light of the teachings of
Koza [ ] and Krause [ ],[32] it would have been obvious to one of skill in the art to
program the central computer of Piechowiak [ ] to cause a given feature to be enabled,
at least temporarily, at a subset of connected gaming machines.” (D.l. 223 at 1111 30, 40,
ex. 5 at 3-4) Mr. Crevelt does not specifically state that there was a motivation for a
person of skill in the art to combine Koza with the additional references with the
exception of one statement in the context of the “associating each gaming device with a

unique address code” limitation.33 Accordingly, there is no rationale provided by Mr.

 

31The court notes that defendants very briefly address two other limitations
“using the network” and “issuing a command or message.” (D.l. 220 at 24-25) The
parties have not focused on these arguments and the court need not issue a finding on
this record in view of its ultimate finding that defendants cannot demonstrate a
motivation to combine the asserted references

32Defendants do not argue in their papers that the “preselecting” limitation is
disclosed in Krause (D.l. 220 at 17-19) Mr. Crevelt provides a citation to Krause in his
claim chart and states that the central computer of Krause “can be programmed to
award a bonus win responsive to a predetermined number of game plays.” (D.l. 223,
ex. 5 at 3, citing Krause col. 13, ii. 12-19 and col. 19, ii. 30-34) Plaintiff’s expert Mr.
Spencer, opines in his declaration that the central computer of Krause does not relate
to the “preselecting” limitation and, absent any relevant disclosure “one of ordinary skill
in the art would not have been motivated to combine these references in the manner
suggested by Mr. Crevelt” (D.l. 185 at 1111 97-98)

33lt “would have been obvious to combine [the] address codes [of Piechowiak
and Tracy] with the Koza [ ] sytem to achieve the greater efficiency and ease of

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Crevelt for why a person of ordinary skill in the art would make the asserted
combination of five references or would have reasonably expected success as a result
On this record and in view of defendants’ heightened burden to show obviousness by
clear and convincing evidence the court finds that no reasonable jury could find in favor
of defendants Summary judgment is granted for plaintiff on claims 1 and 22 of the ‘885
patent
ii. Ciaims 10, 33 and 46 of the ‘885 patent

Defendants’ assertions regarding the remaining claims of the ‘885 patent suffer
from the same deficiencies Again, with the exception of one statement in the context
of the “unique address code” limitation Mr. Crevelt does not specifically state that there
was a motivation to combine Piechowiak with Bridgeman, Krause and Tracy. Mr.
Crevelt merely opines that “[i]n light of the teachings of Krause [ ], it would be obvious
to one of ordinary skill in the art to program the central computer of Piechowiak [ ] to
cause a given feature to be enabled, at least temporarily, at a subset of connected
gaming machines.” (D.l. 223 at 1111 51, 61, 73l ex. 7 at 3, 7-8, 13) Absent any rationale
for why a person of ordinary skill in the art would make the asserted combination of four
references or would have reasonably expected success as a result and, in view of
defendants’ heightened burden to show obviousness by clear and convincing evidence
the court finds that no reasonable jury could find in favor of defendants and grants
summary judgment for plaintiff on claims 10, 33 and 46 of the ‘885 patent

iii. Ciaims 21 and 44 of the ‘812 patent

 

monitoring that those codes provide.” (D.l. 223 at 1111 29, 39)
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Defendants assert that claims 21 and 44 of the ‘812 patent are rendered obvious
by Piechowiak in view of Tracy. The primary dispute between the parties is whether the
prior art discloses or suggests the “storing the command or message in a memory
connected to a controller associated with only one of the gaming devices” limitation of
claims 21 and 44. To this end, defendants argue that Barrie discloses a separate
controller associated with individual games in a linked system (D.l. 220 at 27) As
discussed supra, the parties have not focused on the extent to which Barrie is
incorporated by reference into Piechowiak. Even assuming that Piechowiak’s general
incorporation of Barrie’s “circuitry and software” suffices to incorporate the controllerl
there is no disclosure in Barrie that a reconfiguration command, as defined by the court
is stored in memory “connected to a controller” associated with only one device
Defendants point out that Piechowiak discloses storing award criteria in a single
machine’s memory (D.l. 220 at 27); again award criteria is distinguishable from a
reconfiguration command,

Mr. Crevelt states that “it would be obvious to one of ordinary skill in the art to
program the central computer of Piechowiak [ ] to establish criteria, at least temporarily,
for a bonus to be paid at one of the connected gaming machines upon the occurrence
of a predetermined event For example as described above bonus conversion tables
for groups of gaming machines on a casino floor . . . have long been sent to the
machines and are stored in the [standby memory image buffer] in each applicable
machine This provides a casino operator with additional and more efficient ways to
monitor the casino floor and to provide patrons with incentives to play the casino’s
machines.” (D.l. 223 at 1111 85, 97) Mr. Crevelt does not specifically explain why a

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person of ordinary skill in the art would be motivated to store a reconfiguration
command, as compared to a regular payout command, in a memory connected to only
one machine34

Notwithstanding the foregoing, Mr. Crevelt does not specifically state that a
person of ordinary skill in the art would have been motivated to combine Piechowiak
with Tracy. Mr. Crevelt states only that limitations if not disclosed in Piechowiak, are
disclosed in Tracy. (D.l. 223 at 1111 82, 84, 86, 93, 95, 96, 98, 100) Mr. Crevelt does not
substantively address Tracy at all, providing only in the context of the “paying the bonus
via the gaming device responsive to the receipt of the pay command” limitation that
“[i]n light of the teaching of Tracy [ ], it would therefore be obvious to pay the bonus at
the gaming machine in accordance with the command.” (ld. at 1111 88, 100) No
reasonable jury could find in favor of defendants absent a proffer on a motivation to
combine (and reasonable expectation of success as a result of the proffered
combination). Summary judgment is granted for plaintiff on the validity of claims 21 and

44 of the ‘812 patent

 

34As explained previously, the court finds Acres’ motivation for the development
of the patented technology irrelevant to the question of obviousness defendants can
not demonstrate that the “storing the command” limitation is obvious as a matter of law
in view of this evidence (D.l. 220 at 28)

The court notes at this juncture that in its reply papers plaintiff introduces
arguments that the asserted prior art does not disclose the “transmitting a pay
command from lthe controller to the gaming device upon the occurrence of the
predetermined event” limitation of claims 21 and 44 of the ‘812 patent (D.l. 240 at 24-
25) The filed copy of Mr. Crevelt’s supplemental declaration is incomplete Exhibit 9l
that addressing where each limitation of claims 21 and 44 is disclosed in the prior art
contains only one page (D.l. 223, ex. 9) For this reason and in view of the fact that
defendants did not file a reply brief as per their stipulation the court is not in a position
to evaluate plaintist arguments on this limitation

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4. Conclusion regarding validity

Based upon the foregoing, the colth denies defendants’ motion for summary
judgment that the ‘983 patent is invalid as anticipated or being rendered obvious by
Craine Defendants’ motion for summary judgment that the asserted claims of the ‘812
and ‘885 patents are invalid for obviousness is denied. Plaintiff’s motion for summary
judgment that the asserted claims of the ‘812 and ‘885 patent are not invalid is granted1
insofar as defendants cannot prove that: (1) either patent is anticipated by Piechowiak;
(2) claims 1 and 22 ofthe ‘885 patent are rendered obvious by Koza in view of
Piechowiak, Bridgeman, Krause and Tracy; (3) claims 10, 33 and 46 of the ‘885 patent
are rendered obvious by Piechowiak in view of Bridgeman, Krause and Tracy; or that
(4) claims 21 and 44 of the ‘812 patent are rendered obvious by Piechowiak in view of
Tracy.

C. Cross-Motions Regarding implied License

in their amended answer, defendants asserted as an affirmative defense to
infringement the existence of a license between the parties covering the ‘885, ‘812, and
‘983 patents (D.l. 173) Plaintiff moves for summaryjudgment that no such license
exists either express or implied. (D.l. 182) in their response defendants concede that
no such express license exists and further concede that no such implied license exists
covering the ‘885 and ‘812 patents (D.l. 222 at 1) Defendants contend, however, that
an implied license does exist covering the ‘983 patent and cross-move for summary
judgment on that point (D.l. 221)

in light of defendants’ concessions the court grants plaintiff’s motion for

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summary judgment that there exists no express or implied license covering the ‘885 and
‘812 patents and no express license covering the ‘983 patent. Furthermore in light of
the court’s conclusion that defendants do not infringe the ‘983 patent the court denies
as moot both parties’ motions for summary judgment with respect to whether an implied
license covers the ‘983 patent.
V. CONCLUS|ON

For the foregoing reasons plaintiff’s motion for summaryjudgment of
infringement (D.l. 178) is granted in part and denied in part; defendants’ motion for
summaryjudgment of noninfringement (D.l. 191) is also granted in part and denied in
part. Plaintiff’s motion for summary judgment of validity of the ‘812 and ‘885 patents
(D.l. 180) is granted. Defendants’ motions for summary judgment of invalidity of the
‘812 and ‘885 patents (D.l. 219) and the ‘983 patent (D.l. 193) are denied. Plaintist
motion that defendants have no valid license defense (D.l. 182) is granted in part and
denied in part as moot Defendants’ motion that it has a valid license defense (D.l. 221)

is denied as moot. An appropriate order shall issue

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